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 LOEB & LOEB LLP                         FORSHEY & PROSTOK, LLP
 Bernard R. Given II                     Jeff Prostok
 State Bar No. 07990180                  State Bar No. 16352500
 10100 Santa Monica Blvd., Suite 2200    Lynda Lankford
 Los Angeles, CA 90067-4120              State Bar No. 11935020
 Tel: 310-282-2000                       777 Main Street, Suite 1290
 Fax: 310-282-2200                       Fort Worth, TX 76012
 Email: bgiven@loeb.com                  Tel: 817-877-8855
                                         Fax: 817-877-4151
 Proposed Counsel to the Debtor          Email: jprostok@forsheyprostok.com
 and Debtor-in-Possession                         llankford@forsheyprostok.com

                                         Proposed Counsel to the Debtor
                                         and Debtor-in-Possession


              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION
                                     §
In re:                               § Chapter 11
                                     §
EVENTIDE CREDIT ACQUISITIONS, LLC,   § Case No. 20-40349-elm11
                                     §
                     Debtor.         §
                                     §
                                    §
EVENTIDE CREDIT ACQUISITIONS, LLC,  § Adv. Proc. No. 20-______
                                    §
                      Plaintiff,    §
                                    §
                      v.            §
                                    §
BIG PICTURE LOANS, LLC, ASCENSION
                                    §
TECHNOLOGIES, LLC, and TRIBAL
                                    §
ECONOMIC DEVELOPMENT HOLDINGS, LLC,
                                    §
                      Defendants.   §


                 COMPLAINT FOR TURNOVER, TEMPORARY
       RESTRAINING ORDER AND INJUNCTIVE RELIEF, AND FORECLOSURE




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         COMES NOW Plaintiff Eventide Credit Acquisitions, LLC (the “Debtor” or “Plaintiff”),

the debtor and debtor-in-possession in the above-captioned chapter 11 case, and as plaintiff in the

above-captioned adversary proceeding, and hereby alleges for its Complaint for Turnover,

Temporary Restraining Order and Injunctive Relief, and Foreclosure (the “Complaint”),1 upon

knowledge of its own acts and upon information and belief as to all other matters, as follows:

                                      NATURE OF THE ACTION

         1.      The Debtor is facing a liquidity crisis caused by Tribal Economic Development

Holdings, LLC (“TED”), Big Picture Loans, LLC (“Big Picture”), and Ascension Technologies,

LLC (“Ascension”), Defendants in this Adversary Proceeding. The Debtor and the Defendants

entered into a prepetition seller-financed transaction whereby the Debtor sold its business to the

Defendants in exchange for a secured promissory note, with payments under the promissory note

being calculated based on an agreed waterfall. However, instead of making the agreed upon

payments under the waterfall, Defendants have, at every turn, devised new ways to reduce the

payments owed to the Debtor so as to divert profitability after the note sunsets. These decisions

by the Defendants were boldly in breach of several obligations to maximize the note payments.

As a result, the Debtor has not received any payments under the promissory note since November

2018.

         2.      Even worse, with knowledge of the Debtor’s bankruptcy filing and after receiving

a demand to make the contractually required payment under the promissory note, Defendants

refused to comply and, instead, purported to effectuate an offset against amounts allegedly owed

by the Debtor under a separate agreement. Defendants have further taken the position that their




1
 The claims asserted in this Complaint are subject in all respects to the Debtor’s forthcoming motions to transfer
venue of the Pending Actions to this Court where they can be efficiently litigated in one forum.


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actions are permissible as a result of their sovereign immunity and that the automatic stay of section

362 of the Bankruptcy Code does not apply to them.

         3.    The payments owed to the Debtor under the waterfall belong to the Debtor and are

subject to turnover under section 542 of the Bankruptcy Code. In addition, Defendants’ conduct

gives rise to certain damage claims in favor of the Debtor, including for violation of the automatic

stay. The Debtor is entitled to relief on an immediate and permanent basis for turnover of cash

belonging to and withheld from the Debtor, and for damages, among other relief requested herein.

Substantially contemporaneously with filing this Complaint, the Debtor is filing pleadings in this

Adversary Proceeding to obtain temporary and preliminary relief for the immediate turnover of

the withheld waterfall payments that Defendants are wrongfully retaining in violation of the

automatic stay. At minimum, the withheld funds should be paid into the registry of the Court so

that they are not dissipated while the Court reaches a final determination on these issues as

Defendants have shown that they will use every effort available to resist having to make

contractually required payments to the Debtor.

         4.    Separately, Defendants have committed blatant breaches of the promissory note

and other transaction documents between the Debtor and the Defendants, including by entering

into a settlement agreement for additional indebtedness, not consented to by the Debtor, designed

to displace more than $20 million dollars in Debtor note payments, over the next two years, for

the benefit of the plaintiffs in class action litigations against both the Defendants and the Debtor.

However, the Debtor itself will receive no benefit under the settlement agreement. As a result, the

Debtor is permitted to foreclose on its collateral, which must now be turned over to the Debtor’s

estate so that it may be sold for the benefit of the Debtor and its legitimate creditors.




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                                 JURISDICTION AND VENUE

         5.    This Court has jurisdiction over this Adversary Proceeding pursuant to 28 U.S.C.

§§ 157 and 1334. This Adversary Proceeding is a core proceeding pursuant to 28 U.S.C. §§ 157(b).

         6.    Venue in this district is proper under 28 U.S.C. § 1409.

         7.    The statutory predicates for the relief requested herein are sections 362(a)(3),

362(a)(6), 362(a)(7), 542(a), 542(b), 542(e) and 105(a) of title 11 of the United States Code (the

“Bankruptcy Code”) as well as rules 7001(1), 7001(7), and 7065 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”).

         8.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(A), (E)

and (O). To the extent this matter is determined to be non-core, Plaintiff consents to the entry of

final orders and judgments by this Court in this adversary proceeding.

                                         THE PARTIES

         9.    Plaintiff Eventide Credit Acquisitions, LLC is a Delaware limited liability company

with its principal place of business in Texas.

         10.   Defendant TED is a limited liability company organized under the laws of The Lac

Vieux Desert Bank of Lake Superior Chippewa Indians (“LVD”) with its principal place of

business on LVD’s reservation in the Upper Peninsula of Michigan.

         11.   Defendant Big Picture is a limited liability company organized under the laws of

the LVD with its principal place of business on LVD’s reservation in the Upper Peninsula of

Michigan. Big Picture is a subsidiary of TED.

         12.   Defendant Ascension is a limited liability company organized under the laws of the

LVD with its principal place of business on LVD’s reservation in the Upper Peninsula of Michigan.

Ascension is a subsidiary of TED.




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                                 FACTUAL BACKGROUND

         A.    The Transaction Between the Debtor and the Defendants.

         13.   Since 2011, in an effort to relieve the burdens of its sovereignty amplified by a

downturn in its casino, LVD enacted legislation and regulatory and other infrastructure to begin

online lending from its reservation. LVD’s purpose was to further its attainment toward self-

sufficiency through self-determination and economic development. With a minimal tax base and

resources and all the obligations of a sovereign, federal law and policy suggested (as tribes so

typically do) LVD seek “outside expertise” and capital to help build its brand, its intellectual

property and to consult and mentor.    LVD began first in online title lending, before it met the

President of the Debtor, Matt Martorello, through agents LVD paid to seek the specialized fintech

expertise so commonly available to banks and non-bank lenders in modern digital lending.

         14.   LVD has operated online lending businesses to consumers nationwide. Each

lending entity was wholly-owned, operated and controlled by LVD, regulated by LVD’s agency

in accord with both tribal and federal laws, and was headquartered and operated from LVD’s

reservation. All loans were originated on LVD’s reservation located in the Upper Peninsula of

Michigan, where state law is not applicable. The loans were also serviced and collected from

actions on the reservation and payment then applied to the loan transactions there as well. Indeed,

at all times, LVD had complete control over the lending entities.

         15.   In 2012, LVD began offering loans to consumers through a tribal lending entity

called Red Rock Tribal Lending, LLC (“Red Rock”). LVD also offered consumer loans through

a second tribal lending entity, Duck Creek Financial, LLC (“Duck Creek”). To assist in the

growth of LVD’s lending portfolios and to provide necessary services to those portfolios, Red

Rock and Duck Creek entered into a servicing agreement with Bellicose VI, Inc. (“Bellicose”) to

obtain vendor services. Without a restriction to sovereignty as there is in gaming through the


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Indian Gaming Regulatory Act providing a template by which to engage, Martorello engaged over

a dozen of the nation’s most esteemed tribal lawyers who worked with the LVD’s lawyers to ensure

the business would be entirely lawful. The parties landed upon a congressionally blessed NIGC

management contract as their template. In 2012, Bellicose assigned its rights under its servicing

contracts with Red Rock and Duck Creek to its affiliate, SourcePoint VI, LLC (“SourcePoint”).

The services Red Rock and Duck Creek obtained from Bellicose and SourcePoint included, inter

alia, compliance management assistance, marketing material development, and the development

of risk modeling and data analytics.      While these services were vital to LVD’s economic

development, the termination rights and all decisions, or revocation of, were always in the sole

and absolute discretion of LVD whose council appointed council members as the Defendants’

managers and chief executive officers.

         16.   After a few years, LVD sought to mature its lending operations by moving in house

several vendor services in an effort to reduce costs as well as to further enhance economic

development opportunities for LVD and members of LVD. Towards that end, LVD sought to

acquire its then service provider, SourcePoint, along with its affiliates and parent company,

Bellicose Capital, LLC (“Bellicose Capital”). LVD determined that such an acquisition would

create significant value for LVD because of the valuable processes, good will, existing contractual

relationships, and other assets owned by Bellicose Capital and its subsidiaries. After more than

three years of discussion, LVD’s lawyers provided Bellicose Capital a compelling framework and

revenue multiple for a seller financed transaction that would result in substantial tax benefits to

Bellicose Capital’s members whereby LVD acquired Bellicose Capital, including SourcePoint.

         17.   As an overview, the acquisition was generally structured as follows:

               (a)    LVD formed Big Picture, its new lending entity.




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                (b)     LVD formed Ascension, its new servicing company.

                (c)     LVD formed TED, as the parent company, to wholly own both Big Picture

         and Ascension.

                (d)     LVD transferred all assets and liabilities from Duck Creek and Red Rock to

         Ascension and Big Picture. Red Rock and Duck Creek dissolved.

                (e)     The Debtor was formed as an entity to sell Bellicose Capital to LVD through

         TED.

                (f)     SourcePoint and all of its subsidiary companies merged and consolidated

         their assets into Bellicose Capital.

                (g)     Bellicose Capital was acquired by LVD Tribal Acquisition Company, LLC

         (“TAC”) and its assets were transferred to Ascension and its liabilities to Big Picture. TAC

         was then dissolved. This left TED as the holding company for its subsidiaries, Big Picture

         and Ascension.

                (h)     The transaction was evidenced by (1) a secured promissory note to the

         Debtor (the “Promissory Note”), attached as Exhibit 1, (2) a Loan and Security

         Agreement (the “LSA”), attached as Exhibit 2, (3) Parental Guarantee and Sovereign

         Immunity Waiver (“Guarantee”), attached as Exhibit 3, and (4) Agreement and Plan of

         Merger (the “Merger Plan” and together with the Promissory Note, LSA and Guarantee,

         the “Transaction Documents), attached as Exhibit 4.

         18.    In sum, remaining today are the Debtor, a secured creditor in a seller-financed

transaction, LVD, and TED, the buyer and parent of Big Picture and Ascension. The Promissory

Note from TED to the Debtor was secured by certain Collateral as defined in section 2.2(b) of the




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LSA and section 1.5 of the Promissory Note, which includes substantially all of the assets of TED,

Big Picture and Ascension.

         19.   The term-sheet was signed August 22, 2014, the acquisition finally closed on

January 26, 2016, and was completed by February 15, 2016.

         20.   After the acquisition by LVD of the business previously operated by Bellicose

Capital and SourcePoint, LVD continued to operate its short term consumer lending business

through TED, Big Picture and, the brain bank that supports the lender, Ascension.

         21.   Because of the seller-financed nature of the transaction, LVD (through TED)

committed to make contractually required payments to the Debtor for a seven-year period,

pursuant to the Promissory Note, after which the remaining debt on the note would be retired and

LVD, through TED, would own the consulting business free and clear of any obligations to its

creditor, the Debtor. The term of the Promissory Note is set to expire on January 26, 2023.

         22.   To ensure a fair price would be paid and that TED would not risk default from

ordinary course fluctuations to the business such as seasonality, the payments required to be made

to the Debtor are variable and determined based upon a contractual waterfall set forth in section

1.2 of the Promissory Note (the “Waterfall”) that was advantageous to LVD’s and the Defendants’

interests. Because these Waterfall payments to the Debtor are not uncommon in Indian country

efforts of economic development, and they naturally varied based upon TED’s overall profitability,

TED agreed that it owes a fiduciary duty to the Debtor to maximize note payments, as set forth in

section 4.4 of the LSA and that it would limit its other indebtedness without the consent of the

Debtor as set forth in section 5.1 of the LSA.




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          B.    Defendants Blatantly Breached the Transaction Documents in Numerous
                Ways.

          23.   However, Defendants breached their fiduciary duty to maximize note payments and

otherwise breached the LSA and Promissory Note, resulting in the Debtor receiving no payments

under the Promissory Note since November 2018.

          24.   Defendants breached the LSA and Promissory Note by:

                a.     Improperly deducting moneys from Waterfall calculations pursuant to the

Promissory Note as “bad debt reservations”;

                b.     Maintaining undisclosed reserves against payments to the Debtor under the

Promissory Note;

                c.     Making wholesale changes to product and business policy to the detriment

of TED’s obligations to the Debtor under the LSA and Promissory Note so as to increase instead

the payments after the note sunsets;

                d.     Cementing the changes to their product and business policy by changing

Tribal law in violation of section 5.16 of the LSA and section 2 of the Guarantee;

                e.     Making gross misrepresentations to the Debtor about the financial forecasts

of its business concealing the changes and the attempts to move note payment dollars past the

sunset;

                f.     Incurring $15,000,000 of senior debt ahead of the Debtor, without the

Debtor’s written consent and in violation of section 5.1 of the LSA;

                g.     Incurring legal expenses outside the ordinary course of business and

including such payments in the calculation of the Waterfall; and

                h.     Paying subordinated insider debt ahead of payments to the Debtor, without

the Debtor’s written consent in violation of section 5.1 of the LSA.



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         25.   In addition, Big Picture and Ascension are defendants in class-action litigation

pending in the United States District Courts of Oregon, Massachusetts, and the Eastern District of

Virginia. They have sought to resolve those litigations, as against them, by way of a settlement

with the putative consumer classes that brought suit against them in those districts (the

“Settlement Agreement”). Plaintiffs in those putative class actions sought court approval of the

Settlement Agreement by filing a Motion for Preliminary Approval of the Class Action Settlement

on November 26, 2019, which is attached as Exhibit 5.            The Settlement Agreement was

preliminarily approved on December 20, 2019.

         26.   Contrary to their obligations in the LSA, Big Picture Loans and Ascension have

agreed to pay $8,700,000 in the Settlement Agreement over the next two years.

         27.   In the Settlement Agreement, Big Picture and Ascension also agreed to collect no

more than 2.5 times the original principal amount of the loan in payments over the life of the loan

for individuals who executed loan agreements on or after June 22, 2013, resulting in an estimated

impact of greater than eleven million dollars.

         28.   On December 12, 2019, Eventide’s counsel sent a Notice of Default to Big Picture

and Ascension.

         29.   These breaches and Events of Default are currently the subject of an arbitration

commenced by the Debtor against LVD and the Defendants before the American Arbitration

Association on December 16, 2019 (the “Arbitration”). Such Arbitration is expressly permitted

by section 8.5 of the LSA and section 10(e) of the Guarantee.

         30.   Under section 6.2 of the LSA, after an Event of Default has occurred, the Debtor is

authorized

               without any further demand or notice except to such extent as may
               be required by applicable law, to take possession and/or sell or



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               otherwise dispose of all or any of the Collateral at public or private
               sale and the exercise of any rights under agreements held in escrow;
               and [the Debtor] may also exercise any and all other rights and
               remedies of a secured party under the UCC . . . Upon demand by
               [the Debtor], [Defendants] shall assemble the Collateral and make
               it available to [the Debtor] at a place designated by [the Debtor]
               which is reasonably convenient to [the Debtor] and [TED].
               [Defendants] hereby acknowledge[] that [the Debtor] has extended
               credit and other financial accommodations to [TED] upon reliance
               of [Defendants’] granting [the Debtor] the rights and remedies
               contained in this Agreement including without limitation the right
               to take immediate possession of the Collateral upon the occurrence
               of an Event of Default which has not been waived by [the Debtor]
               and [Defendants] hereby acknowledge that [the Debtor] is entitled
               to such equitable and injunctive relief to enforce any of its rights and
               remedies hereunder and [Defendants] hereby waive[] any defense to
               such equitable or injunctive relief based upon any allegation of the
               absence of irreparable harm to [the Debtor].

LSA at § 6.2 (emphasis added).

         31.   Accordingly, as result of the Events of Default under the Transaction Documents,

and the Debtor’s right to take immediate possession of the Collateral upon an Event of Default,

the Collateral is now property of the Debtor’s estate and is subject to turn over.

         C.    The Side Letter.

         32.   On May 6, 2019, TED and the Debtor entered into that certain letter agreement for

$5,000,000 in advance payments on the Promissory Note (the “Side Letter”). A copy of the Side

Letter is attached hereto as Exhibit 6. Pursuant to the Side Letter, Defendants agreed to make

certain payments to the Debtor beginning in May 2019 with the final payment being made on July

31, 2019.

         33.   Thereafter, TED and the Debtor agreed that TED could offset amounts it would

otherwise be required to pay under the Promissory Note until all amounts advanced to the Debtor

under the Side Letter had been offset.




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         34.   In negotiations relating to the Side Letter, Defendants stated that they anticipated

all payments relating to the Side Letter would be offset within three months.

         35.   However, TED conveniently did not purport to offset any payments due by the

Debtor under the Side Letter until after the Arbitration was commenced. TED allegedly applied

$425,695.44 to amounts owed on the Side Letter in January 2020 based on revenues generated by

Big Picture in December 2019.

         D.    The Bankruptcy Filing and Demand Letter.

         36.   On January 28, 2020 (the “Petition Date”), the Debtor filed a voluntary petition

under chapter 11 of the Bankruptcy Code. The Debtor continues to operate and manage its

properties as debtor-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee or examiner has been appointed.

         37.   On February 14, 2020, TED was obligated to pay the Debtor not less than

$988,931.35 on the Promissory Note (the “February Payment”) as dictated by TED’s own

application of the Waterfall.

         38.   Instead of making the February Payment, TED purported to effect a setoff of such

amount against a sum allegedly owed by the Debtor to TED pursuant to the Side Letter.

         39.   On February 20, 2020, the Debtor issued a demand letter directing TED to make

the February Payment by February 25, 2020 and advising it that failure to make the payment would

result in a violation of the automatic stay.

         40.   On February 25, 2020, Big Picture and Ascension responded to the Debtor’s

demand letter and denied any obligation on their part or the part of TED to make the February

Payment.




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         41.      Big Picture and Ascension further asserted that, as a result of their sovereign

immunity, the automatic stay of section 362 of the Bankruptcy Code does not apply to any of the

Defendants.

         42.      Defendants’ course of action and own assertion demonstrates their belief that they

should be permitted to purchase a business from the Debtor worth not less than $100 million and

not pay for it, all to the detriment of the Debtor and its legitimate creditors, and that this Court is

unable to do anything to stop them.

                                    FIRST CLAIM FOR RELIEF
               (11 U.S.C. § 542(b) – Turnover of Payments Owed under the Waterfall)

         43.      The Debtor repeats and re-alleges Paragraphs 1-42 of this Complaint as if fully set

forth herein.

         44.      Bankruptcy Code section 542(b) expressly provides that “an entity that owes a debt

that is property of the estate and that is matured, payable on demand, or payable on order, shall

pay such debt to, or on the order of the trustee, except to the extent that such debt may be offset

under [11 U.S.C. § 553].” 11 U.S.C. § 542(b).

         45.      Bankruptcy Code section 541(a) provides, in pertinent part, that the bankruptcy

estate is comprised, among other things, of “all legal or equitable interests of the debtor in property

as of the commencement of the case.” 11 U.S.C. § 541(a).

         46.      The February Payment became payable on February 14, 2020 as set forth in section

1.2 of the Promissory Note.

         47.      The February Payment constitutes a debt that is mature, payable on demand and/or

payable on order.

         48.      The February Payment is property of the estate pursuant to section 541(a) of the

Bankruptcy Code.



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         49.    No part of the February Payment may be offset under section 553 of the Bankruptcy

Code.

         50.    TED has not paid the February Payment to the Debtor.

         51.    As set forth in the Response Letter, Big Picture and Ascension have indicated that

TED intends to continue to withhold payments due under the Waterfall as repayment of the amount

advanced pursuant to the Side Letter.

         52.    Accordingly, pursuant to section 542(b) of the Bankruptcy Code, the Debtor

requests that the Court enter an order compelling TED to turn over the February Payment to the

Debtor and to make all subsequent payments owed on the Promissory Note as provided for in the

Waterfall.

                               SECOND CLAIM FOR RELIEF
                        (11 U.S.C. § 542(e) – Turnover of Information)

         53.    The Debtor repeats and re-alleges Paragraphs 1-52 of this Complaint as if fully set

forth herein.

         54.    Section 542(e) of the Bankruptcy Code provides that “[s]ubject to any applicable

privilege, after notice and a hearing, the court may order an attorney, accountant, or other person

that holds recorded information, including books, documents, records, and papers, relating to the

debtor’s property or financial affairs, to turn over or disclose such recorded information to the

trustee.” 11 U.S.C. § 542(e).

         55.    Defendants have prohibited the Debtor from accessing information regarding the

Collateral that the Debtor is entitled to receive pursuant to section 4.3 of the LSA. Information

regarding the Debtor’s Collateral constitutes information relating to the Debtor’s property and

financial affairs.




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         56.    Debtor is entitled to entry of an order compelling Defendants to turn over

information in Defendants’ possession relating to the Debtor’s Collateral, including the

information required under section 4.3 of the LSA.

                                 THIRD CLAIM FOR RELIEF
                                   (Demand for Accounting)

         57.    The Debtor repeats and re-alleges Paragraph 1–56 of this Complaint as if fully set

forth herein.

         58.    Defendants have breached section 4.3 of the LSA by failing to provide all necessary

information to calculate payments owed under the Waterfall.

         59.    The Debtor is entitled to an accounting and affirmative injunctive relief against

Defendants, requiring Defendants to promptly produce all relevant data and documentation to

enable the Debtor to determine the amount owed under the Waterfall and to audit and review any

claim which Defendants may assert as their basis for refusing to make the Waterfall payments.

                               FOURTH CLAIM FOR RELIEF
                (11 U.S.C. § 362(a) – Damages for Violation of Automatic Stay)

         60.    The Debtors repeats and re-alleges Paragraph 1–59 of this Complaint as if fully set

forth herein.

         61.    Defendants had actual notice of the bankruptcy filing by the Debtor and the

imposition of the automatic stay.

         62.    Defendants have stated that the automatic stay does not apply to them.

         63.    Notwithstanding their knowledge of the bankruptcy filing, Defendants improperly

withheld the February Payment, and instead attempted to effect an offset of that payment against

amounts alleged to be owed to Defendants under the Side Letter in violation of the automatic stay.




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         64.    The Debtor requests entry of an order finding that Defendants have violated the

automatic stay and awarding the Debtor damages for such violation.

                                 FIFTH CLAIM FOR RELIEF
                              (11 U.S.C. § 105 – Injunctive Relief)

         65.    The Debtor repeats and re-allege paragraphs 1–64 of this Complaint as if fully set

forth herein.

         66.    The Debtor is entitled to an order pursuant to sections 105(a) and 362 of the

Bankruptcy Code enjoining Defendants from engaging in any further setoffs of payments owed

under the Promissory Note to the Debtor against any claims purportedly held by Defendants under

the Side Letter or on any other basis as well as an order enjoining Defendants from otherwise

continuing to withhold payments owed to the Debtor under the Promissory Note.

         67.    The Debtor has no adequate remedy at law.

         68.    The likelihood of the irreparable harm to the Debtor’s estate outweighs any harm

to Defendants. Once Defendants have expended the February Payment and any other payments

owed under the Waterfall in the future, the Debtor is unlikely to be able to recover the funds.

Conversely, the Debtor is dependent on payments under the Promissory Note to succeed in its

reorganization.

         69.    Accordingly, the Debtor requests that the Court enter orders in favor of the Debtor

temporarily, preliminarily and permanently (a) enjoining Defendants from withholding payments

due under the Waterfall of the Promissory Note, (b) compelling Defendants to turn over the

February Payment, and (c) enjoining Defendants from utilizing the Debtor’s Collateral to make

any payments not permitted by the Waterfall.




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         70.    To the extent Defendants continue to setoff sums alleged to be due to them under

the terms of the Side Letter or otherwise, the Debtor reserves the right to amend this Complaint to

seek punitive damages for intentional violation of the automatic stay.

                                   SIXTH CLAIM FOR RELIEF
                    (11 U.S.C. § 542(a) - Foreclosure and Turnover of Collateral)

         71.    The Debtor repeats and re-allege paragraphs 1–70 of this Complaint as if fully set

forth herein.

         72.    Bankruptcy Code section 542(a) provides, in pertinent part, that “an entity, . . . in

possession, custody, or control, during the case, of property that the trustee may use, sell, or lease

under section 363 of this title, . . . shall deliver to the trustee, and account for, such property or the

value of such property, unless such property is of inconsequential value or benefit to the estate.”

11 U.S.C. § 542(a).

         73.    Bankruptcy Code section 541(a) provides, in pertinent part, that the bankruptcy

estate is comprised, among other things, of “all legal or equitable interests of the debtor in property

as of the commencement of the case.” 11 U.S.C. § 541(a).

         74.    The Debtor and Defendants are parties to the LSA. Entry into the Settlement

Agreement is facially an Event of Default under the LSA, among other Events of Default that have

occurred under the Transaction Documents.

         75.    Because an Event of Default has occurred under the LSA, the Debtor is

automatically has the right “to take immediate possession of the Collateral” and to otherwise

exercise its rights under section 6.2 of the LSA to effectuate a windup and to foreclose on the

Collateral.

         76.    The Collateral is now property of the Debtor’s estate and the Debtor is entitled to

possession of it.



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         77.    The Debtor could use the Collateral, pursuant to 11 U.S.C. § 363, to pay the

ongoing expenses of the Debtor’s estate.

         78.    The Collateral is not of inconsequential value.

         79.    Debtor requests entry of an order of foreclosure on the Collateral and directing

defendants to turn over the Collateral to the Debtor.

                                      PRAYER FOR RELIEF

         WHEREFORE, the Debtor respectfully demands judgment against the Defendants in this

adversary proceeding, and requests relief as follows:

       i. For Count I of this Complaint, entry of an order compelling Defendants to turn over the

           February Payment and all other payments due under the Waterfall;

      ii. For Count II of this Complaint, entry of an order compelling Defendants to turn over all

           information relating to the Collateral to the Debtor as required by section 4.3 of the LSA;

     iii. For Count III of this Complaint, entry of an order directing Defendants to promptly

           produce all relevant data and documentation to enable the Debtor to determine the

           amount owed under the Waterfall and to audit and review any claim which Defendants

           may assert as their basis for refusing to make the Waterfall payments;

      iv. For Count IV of this Complaint, entry of an order awarding damages, including punitive

           damages, for Defendants’ violation of the automatic stay;

      v. For Count V of this Complaint, orders in favor of the Debtor temporarily, preliminarily

           and permanently (a) enjoining Defendants from withholding payments due under the

           Waterfall of the Promissory Note, (b) compelling Defendants to turn over the February

           Payment, or, alternatively, to pay it into the registry of the Court pending final resolution

           of this matter; and (c) enjoining Defendants from utilizing the Debtor’s Collateral to

           make any payments not permitted by the Waterfall;


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      vi. For entry of an order directing that the Collateral be foreclosed upon and that it be turned

           over to the Debtor for the benefit of the Debtor and its legitimate creditors; and

     vii. all such other relief as the Court may find just and proper.

 Dated: March 5, 2020                           LOEB & LOEB LLP

                                                /s/ Bernard R. Given II
                                                Bernard R. Given II
                                                State Bar No. 07990180
                                                10100 Santa Monica Blvd., Suite 2200
                                                Los Angeles, CA 90067-4120
                                                Tel.: 310-282-2000
                                                Fax: 310-282-2200
                                                Email: bgiven@loeb.com

                                                -and-

                                               FORSHEY & PROSTOK, LLP
                                               Jeff Prostok
                                               State Bar No. 16352500
                                               Lynda Lankford
                                               State Bar No. 11935020
                                               777 Main Street, Suite 1290
                                               Fort Worth, TX 76012
                                               Tel: 817-877-8855
                                               Fax: 817-877-4151
                                               Email: jprostok@forsheyprostok.com
                                                       llankford@forsheyprostok.com

                                                Proposed Counsel to the Debtor and Debtor
                                                in Possession




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                                                                               January 26, 2016

                               SECURED PROMISSORY NOTE

          FOR VALUE RECEIVED, Tribal Economic Development Holdings, LLC (hereinafter
 "Borrower") an entity wholly owned and operated by the Lac Vieux Desert Band of Lake
 Superior Chippewa Indians, a federally recognized Indian tribe ("Tribe") and formed pursuant
 to the laws of the Tribe, unconditionally promises to pay, in the aggregate, to Eventide Credit
 Acquisitions, LLC, a Delaware limited liability company (hereinafter "Lender"), without any
 counterclaim, setoff, or deduction whatsoever, Borrower's Obligation (as defined below),
 provided Borrower shall pay at such other place as Lender may designate to Borrower in
 writing from time to time, the principal sum equal to the Acquisition Amount ("Note Amount"),
 together with as is from time to time outstanding and unpaid, from the date of the advance of
 the principal evidenced hereby, at an interest rate of 1.8% per annum or such other minimum
 interest rate required under United States tax regulations (the total of which is the "Borrower's
 Obligation"). All principal and interest shall be paid in lawful money of the United States of
 America which shall at the time of payment be legal tender in payment of all debts and dues,
 public and private.

          This Secured Promissory Note is made and delivered by Borrower in connection with
 the acquisition through merger of Bellicose Capital, LLC, a Delaware limited liability company
 (the "Company") by Borrower's subsidiary, LVD Tribal Acquisition Company, LLC, pursuant
 to that certain Agreement and Plan of Merger, executed on October 7, 2015 and effective as of
 even date herewith among, Borrower, Bellicose Capital, LLC, Eventide Credit Acquisitions,
 LLC ("ECA") (the "Merger Agreement") and effective as set forth therein. Borrower and
 Lender may each be referred to as "Party" and collectively as "Parties."

                             ARTICLE I - TERMS AND CONDITIONS

         1.1 Definitions. The following terms shall have the meanings as follows and any
 other capitalized terms used but not defined herein shall have the respective meanings set forth
 in the Loan and Security Agreement, or if not defined therein, other applicable Transaction
 Document.

        a.    "Bad Debt" shall mean Consumer Loans more than sixty (60) days past due.

         b.    "Gross Revenues" shall mean all revenues of any nature derived directly or
 indirectly from the operation of Borrower and the Subsidiaries plus any bad debt recovery of
 Borrower or Subsidiaries minus the sum of charge backs and bad debt charge offs.

        c.     "Loan and Security Agreement" shall mean that certain Loan and Security
 Agreement executed by Borrower for the benefit of Lender in the amount of Borrower's
 Obligations, dated as of the date hereof.




                                        Secured Promissory Note
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                           LOAN AND SECURITY AGREEMENT

         This LOAN AND SECURITY AGREEMENT (this "Agreement"), executed on October
7, 2015 to become effective as of Close as defined in the Merger Agreement the Effective Date,
by and between Tribal Economic Development Holdings, LLC, (together with its Subsidiaries as
defined herein, successors and assigns, the "Borrower"), a wholly-owned holding company of
the Lac Vieux Desert Band of Lake Superior Chippewa Indians, a federally recognized Indian
tribe (the "Tribe"), and Eventide Credit Acquisitions, LLC, a Delaware limited liability company
(together with its successors or assigns, the "Lender"). All capitalized terms that are not
otherwise defined herein shall have the meanings ascribed to them in the Transaction Documents
(as hereinafter defined).

         This Agreement is made and delivered by Borrower in connection with the acquisition
 through merger of Bellicose Capital, LLC, a Delaware limited liability company (the
 "Company") by Borrower's subsidiary, LVD Tribal Acquisition Company, LLC, pursuant to
 that certain Agreement and Plan of Merger, executed on October 7, 2015 but effective as of the
 Effective Date of the Merger Agreement among, Borrower, Bellicose Capital, LLC, and
 Eventide Credit Acquisitions, LLC (the "Merger Agreement"). Borrower and Lender may each
 be referred to as "Party" and collectively as "Parties."

                                      1.      THE LOAN

1.1     Loan. Subject to the terms and conditions of this Agreement, Lender hereby agrees to
loan to or for the benefit of Borrower a principal amount equal to the Acquisition Amount as
defined in the Merger Agreement to fund the purchase price for Company (the "Loan"). Should
the Merger Agreement be canceled due to the failure to meet the conditions precedent in the
Merger Agreement, this Agreement and the Note shall terminate. The Loan shall be evidenced
by that certain Promissory Note, dated as of the date hereof (the "Note") given by Borrower to
the order of Lender, in the face amount of the Acquisition Amount. This Agreement, the Note,
the Merger Agreement, the Servicing Agreement, lockbox agreements, any deposit account
control agreements, the Parental Guarantee and Sovereign Immunity Waiver Agreement and any
and all other documents, amendments or renewals executed and delivered and/or held in escrow
in connection with any of the foregoing, including any guaranties of any obligation of Borrower
are collectively hereinafter referred to as the "Transaction Documents."

1.2     Interest. Interest respecting the outstanding principal balance of the Loan will be charged
to Borrower from time to time outstanding at the rate specified in the Note in accordance with
the terms of the Note or as otherwise set forth in this Agreement. Interest on the Loan will be
based on the actual number of days elapsed in a given calendar month and an assumed 360-day
year.

1.3    Payments. Payments shall be set forth in the Note.

1.4    Conduct of Business. Borrower, through Borrower's Subsidiaries, is (and throughout the
term of the Loan shall be) engaged in the business related to consumer lending for the Tribe (the
"Business"), and Borrower's Subsidiaries shall not conduct any business activities unrelated to
the Business while any Obligations (as hereinafter defined) are outstanding.
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         PARENTAL GUARANTEE AND SOVEREIGN IMMUNITY WAIVER

        THIS PARENTAL GUARANTEE AND SOVEREIGN IMMUNITY WAIVER (this
"Guarantee and Waiver"), is made effective as of October 7, 2015 (the "Effective Date"), by and
among Eventide Credit Acquisitions, LLC, a Delaware limited liability company (the "Lender"),
and the Tribe, TED and all Subsidiaries (all as defined as below). Each party to this Guarantee
and Waiver may be referred to herein as a "Party" or, collectively, as the "Parties." Capitalized
terms used herein are as defined in the Loan and Security Agreement, or if not defined therein, in
the other applicable Transaction Document.

                                               Recitals

       WHEREAS, Lac Vieux Desert Band of Lake Superior Chippewa Indians (the "Tribe") is
a federally recognized Native American Indian tribe with inherent sovereignty that predates the
United States Constitution and whose sovereignty is recognized in the Indian Commerce Clause
of the United States Constitution, subsequent United States Supreme Court cases and by the
United States Congress.

        WHEREAS, in furtherance of its objectives of economic self-sufficiency and political
self-determination, the government of the Tribe has organized and operates several arms of the
Tribe as businesses under its Tribal Constitution and Tribal law that offer financial goods and
services from within the Indian Country of the Tribe in an effort to increase the standard of
living for its Tribal members.

       WHEREAS, Tribal Economic Development Holdings, LLC ("TED"), which is an
instrumentality and economic development arm organized as a business entity under Tribal law
of the Tribe as of the Effective Date has five wholly-owned subsidiaries: (1) Ascension
Technologies, LLC, (2) Big Picture Loans, LLC, (3) Red Rock Tribal Lending, LLC, (4) Duck
Creek Tribal Financial, LLC, and (5) LVD Tribal Acquisition Company, LLC (each individually
a “Subsidiary” and collectively the “Subsidiaries”); however, as a condition precedent to Close
of the Merger Agreement, Red Rock Tribal Lending, LLC, and Duck Creek Tribal Financial,
LLC shall be wound up and dissolved.

        WHEREAS, Article XIII, Section 1 of the Tribe's constitution allows the Tribal Council
to waive the sovereign immunity of the Tribe and its entities in furtherance of tribal business
enterprises, and the Tribal Council has determined that such a wavier furthers the business
enterprises of the Tribe in this instance.

       WHEREAS, the Lender agreed to loan to TED the Acquisition Amount with the use of
proceeds to be used solely for the purchase of Bellicose Capital, LLC, an entity providing
services to loan portfolios owned or to be developed by the Subsidiaries (the "Loan"), and the
Lender wishes to gain assurances from all Tribal parties involved in the Collateral for that Loan
that they will cooperate in preserving certain business environment parameters during the
repayment period of such loan under the Transaction Documents.




                Parental Guarantee and Sovereign Immunity Waiver (Bellicose Transaction)
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division


RENEE GALLOWAY, et al.,

               Plaintiffs,

v.                                                  Civil Action No. 3:19-cv-00470-REP

JAMES WILLIAMS, JR., et al.,

            Defendants.
______________________________________________ /


                        PLAINTIFFS’ MOTION FOR
           PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiffs, Lula Williams, Gloria Turnage, George Hengle, Dowin Coffy, Marcella Singh

as administrator of the estate of Felix Gillison, Jr., Renee Galloway, Dianne Turner, Earl Browne,

Rose Marie Buchert, Regina Nolte, Kevin Minor, Teresa Titus, Lisa Martinez, Anthony Green,

Sonji Grandy, Anastasia Sherman, Burry Pough, Linda Madison, Dominque de la Bay, Lucinda

Gray, Andrea Scarborough, Jerry Avent, Lori Fitzgerald, Derek Geter, Keisha Hamm, Faith

Thomas, Sharon Paavo, Latanya Tarleton, Christina Cumming, Lamesha Kondo, Andrea Mendez,

Tammy Wangeline, Freeman Revels, Kimberly Pool, Tasha Pettiford, Richard L. Smith, Jr.,

Victoria Renee McKoy, Desiree Wright Lovins, Sandra Monsalve, Carrie Samantha Smith, Chris

Kobin, Dana Duggan, and John Actis, for themselves and the Settlement Class Members, by

Counsel, hereby moves the Court pursuant to Fed. R. Civ. P. 23 for preliminary approval of the

class settlement involving claims and causes of action against only Big Picture Loans, LLC,

Ascension Technologies, LLC, James Williams, Jr., Michelle Hazen, Henry Smith, Andrea

Russell, Alice Brunk, Tina Caron, Mitchell McGeshick, Gertrude McGeshick, Susan McGeshick,

Giiwegiizhigookway Martin, Jeffery McGeshick, Roberta Ivey, June Saad, Columbia Pipe &
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Supply Co., Timothy Arenberg, Terrance Arenberg, DTA Trinity Wealth Transfer Trust, DMA

Trinity Wealth Transfer Trust, Amlaur Resources, LLC, Brian Jedwab, James Dowd, Simon

Liang, and Brian McFadden (collectively “Settling Defendants”). Plaintiffs further move for

certification of a class for the purposes of settlement of the claims against the Settling Defendants,

appointment of Class Counsel and Class Representatives, and approval of form and manner of

notice. Plaintiffs further request that the Court set a fairness hearing for final approval of the class

action settlement. A Memorandum in Support will be filed contemporaneously with this Motion.

A copy of the Settlement Agreement and all supporting Exhibits, including the proposed notice

forms, are attached hereto, as well as a Proposed Order. The Settling Defendants do not oppose

the filing of this Motion.

                                                Respectfully submitted,

                                                By:     /s/ Leonard A. Bennett
                                                Leonard A. Bennett, Esq., VSB #37523
                                                Craig C. Marchiando, Esq., VSB #89736
                                                Elizabeth W. Hanes, Esq., VSB #75574
                                                CONSUMER LITIGATION ASSOCIATES, P.C.
                                                763 J. Clyde Morris Blvd., Ste. 1-A
                                                Newport News, VA 23601
                                                Telephone: (757) 930-3660
                                                Facsimile: (757) 930-3662
                                                Email: lenbennett@clalegal.com
                                                Email: craig@clalegal.com
                                                Email: elizabeth@clalegal.com

                                                Kristi C. Kelly, VSB #72791
                                                Andrew J. Guzzo, VSB #82170
                                                Casey S. Nash, VSB #84261
                                                KELLY GUZZO, PLC
                                                3925 Chain Bridge Road, Suite 202
                                                Fairfax, VA 22030
                                                Telephone: (703) 424-7572
                                                Facsimile: (703) 591-0167
                                                Email: kkelly@kellyguzzo.com
                                                Email: aguzzo@kellyguzzo.com
                                                Email: casey@kellyguzzo.com


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                                       E. Michelle Drake, Admitted Pro Hac Vice
                                       John G. Albanese, Admitted Pro Hac Vice
                                       BERGER & MONTAGUE, P.C.
                                       43 SE Main Street, Suite 505
                                       Minneapolis, MN 55414
                                       Telephone: (612) 594-5999
                                       Facsimile: (612) 584-4470
                                       Email: emdrake@bm.net
                                       Email: jalbanese@bm.net

                                       Beth E. Terrell, Admitted Pro Hac Vice
                                       Jennifer Rust Murray, Admitted Pro Hac Vice
                                       Elizabeth A. Adams, Admitted Pro Hac Vice
                                       TERRELL MARSHALL LAW GROUP PLLC
                                       936 North 34th Street, Suite 300
                                       Seattle, WA 98103
                                       Telephone: (206) 816-6603
                                       Facsimile: (206) 319-5450
                                       Email: bterrell@terrellmarshall.com
                                       Email: jmurray@terrellmarshall.com
                                       Email: eadams@terrellmarshall.com

                                       Matthew Wessler, Admitted Pro Hac Vice
                                       GUPTA WESSLER PLLC
                                       1735 20th Street, NW
                                       Washington, DC 20009
                                       Telephone: (202) 888-1741
                                       Facsimile: (202) 888-7792
                                       Email: matt@guptawessler.com

                                       Attorneys for Plaintiffs and Proposed Class




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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 26, 2019, I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system which will send notification of such filing to the

 following:

        David N. Anthony, VSB #31696
        Email: david.anthony@troutmansanders.com
        Timothy J. St. George, VSB #77349
        Email: tim.stgeorge@troutmansanders.com
        William H. Hurd, VSB #16769
        Email: william.hurd@troutman.com
        TROUTMAN SANDERS LLP
        1001 Haxall Point
        Richmond, Virginia 23219
        Telephone: (804) 697-5410
        Facsimile: (804) 698-5118

        Attorneys for Defendants

        Hugh M. Fain, III, VSB #26494
        Email: hfain@spottsfain.com
        M. F. Connell Mullins, Jr., VSB #47213
        Email: cmullins@spottsfain.com
        John M. Erbach, VSB #76695
        Email: jerbach@spottsfain.com
        SPOTTS FAIN PC
        411 East Franklin Street, Suite 600
        Richmond, Virginia 23219
        Telephone: (804) 697-2069
        Facsimile: (804) 697-2169

        Richard L. Scheff, Admitted Pro Hac Vice
        Email: rlscheff@ armstrongteasdale.com
        Jonathan P. Boughrum, Admitted Pro Hac Vice
        Email: jboughrum@ armstrongteasdale.com
        Michael Christopher Witsch, Admitted Pro Hac Vice
        Email: mwitsch@armstrongteasdale.com
        ARMSTRONG TEASDALE
        1500 Market Street
        12th Floor, East Tower
        Philadelphia. Pennsylvania 19102
        Telephone: (215) 246-3479
        Facsimile: (215) 569-8228


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       Tod Daniel Stephens, Admitted Pro Hac Vice
       Email: tstephens@armstrongteasdale.com
       Paul Louis Brusati, Admitted Pro Hac Vice
       Email: pbrusati@armstrongteasdale.com
       ARMSTRONG TEASDALE
       7700 Forsyth Blvd., Suite 1800
       St. Louis, Missouri 63105
       Telephone: (314) 621-5070
       Facsimile: (314) 621-5065

       Michelle Lynn Alamo, Admitted Pro Hac Vice
       Email: malamo@armstrongteasdale.com
       Alec Paul Harris, Admitted Pro Hac Vice
       Email: aharris@armstrongteasdale.com
       ARMSTRONG TEASDALE
       4643 South Ulster Street, Suite 800
       Denver, Colorado 80237
       Telephone: (720) 200-0676
       Facsimile: (720) 200-0679

       Charles Palella, Admitted Pro Hac Vice
       Email: cpalella@armstrongteasdale.com
       ARMSTRONG TEASDALE
       919 Third Avenue, 37th Floor
       New York, New York 10022
       Telephone: (212) 209-4400
       Facsimile: (212) 409-8385

       Attorneys for Defendant Matt Martorello

       Craig T. Merritt, VSB #20281
       Email: cmerritt@cblaw.com
       James E. Moore, VSB # 4526
       Email: jmoore@cblaw.com
       Shannan M. Fitzgerald, VSB #90712
       Email: sfitzgerald@cblaw.com
       Email: kmueller@cblaw.com
       CHRISTIAN & BARTON, LLP
       909 East Main Street, Suite 1200
       Richmond, Virginia 23219
       Telephone: (804) 697-4100
       Facsimile: (804) 697-6112

       Justin Alexander Gray, Admitted Pro Hac Vice
       Email: jgray@rosettelaw.com
       Anna Marek Bruty, Admitted Pro Hac Vice
       Email: abruty@rosettelaw.com
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       ROSETTE, LLP
       44 Grandville Avenue SW, Suite 300
       Grand Rapids, Michigan 49503
       Telephone: (616) 655-1601
       Facsimile: (517) 913-6443

       Cindy Dawn Hanson, Admitted Pro Hac Vice
       Email: cindy@troutman.com
       TROUTMAN SANDERS LLP
       600 Peachtree Street N.E., Suite 3000
       Atlanta, Georgia 30308
       Telephone: (404) 885-3000
       Facsimile: (404) 885-3900

       Alan D. Wingfield. VSB #27489
       Email: alan.wingfield@troutman.com
       H. Scott Kelly, VSB #80546
       Email: scott.kelly@troutman.com
       TROUTMAN SANDERS LLP
       Post Office Box 1122
       Richmond, Virginia 23218-1122
       Telephone: (804) 697-1350
       Facsimile: (804) 698-5172

       Attorneys for Defendants Big Picture Loans, LLC and Ascension Technologies, LLC

       DATED this 26th day of November, 2019.

                                            CONSUMER LITIGATION ASSOCIATES, P.C.


                                            By: /s/ Leonard A. Bennett, VSB #37523
                                               Leonard A. Bennett, VSB #37523
                                               Email: lenbennett@clalegal.com
                                               763 J. Clyde Morris Boulevard, Suite 1-A
                                               Newport News, Virginia 23601
                                               Telephone: (757) 930-3660
                                               Facsimile: (757) 930-3662

                                            Attorneys for Plaintiffs and Proposed Classes




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             CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE

       This Class Action Settlement Agreement and Release (“Settlement Agreement”) is made

and entered into by and between: (1) Plaintiffs in the Actions listed below (“Plaintiffs”), and (2)

(i) Big Picture Loans, LLC (“Big Picture”) and Ascension Technologies, LLC (“Ascension”)

(collectively, the “Big Picture Defendants”), wholly-owned and operated entities of the Lac Vieux

Desert Band of Lake Superior Chippewa Indians (the “Tribe”), a federally-recognized Indian tribe,

(ii) James Williams, Jr., Michelle Hazen, Henry Smith, Alice Brunk, Andrea Russell, Tina Caron,

Mitchell McGeshick, Gertrude McGeshick, Susan McGeshick, Giiwegiizhigookway Martin,

Jeffery McGeshick, Roberta Ivey, and June Saad (collectively, the “Individual Tribal

Defendants”), (iii) Columbia Pipe & Supply Co., Timothy Arenberg, Terrance Arenberg, DTA

Trinity Wealth Transfer Trust, and Deborah M. Arenberg Living Trust (collectively, the

“Columbia Defendants”), (iv) Amlaur Resources, LLC and Brian Jedwab (collectively the

“Amlaur Defendants”), (v) James Dowd (“Dowd”), (vi) Simon Liang (“Liang”), and (vii) Brian

McFadden (“McFadden”) (collectively, the Big Picture Defendants, the Tribe, the Individual

Tribal Defendants, the Columbia Defendants, the Amlaur Defendants, Dowd, Liang and

McFadden shall be referred to as the “Settling Defendants”; collectively, Plaintiffs and the Settling

Defendants shall be referred to as the “Parties”).

       This Settlement Agreement is intended to fully, finally, and forever resolve the Released

Claims (see Section XII) of the Settlement Class (see Section 2.28), some of which are set forth in

certain pending and dismissed civil actions, including but not limited to: Lula Williams, et al. v.

Big Picture Loans, LLC, et al., No. 3:17-cv-00461 (E.D. Va.) (“Williams”); Renee Galloway, et

al. v. Big Picture Loans, LLC, et al., No. 3:18-cv-00406 (E.D. Va.) (“Galloway I”); Renee

Galloway, et al. v. Matt Martorello, et al., No. 3:19-cv-00314 (E.D. Va.) (“Galloway II”); Renee
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Galloway, et al. v. James Williams, Jr., et al., No. 3:19-cv-00470 (E.D. Va.) (“Galloway III”);

Dana Duggan v. Big Picture Loans, LLC, et al., No. 1:18-cv-12277 (D. Mass.) (“Duggan”);

Richard Lee Smith, Jr. v. Big Picture Loans, LLC, et al., No. 3:18-cv-01651 (D. Or.) (“Smith”);

Christine Cumming, et al. v. Big Picture Loans, LLC, et al., No. 5:18-cv-03476 (N.D. Ca.); Chris

Kobin v. Big Picture Loans, LLC, et al., 2:19-cv-02842 (C.D. Ca.); and Victoria Renee McKoy, et

al., v. Big Picture Loans, LLC, et al., 1:18-cv-03217 (N.D. Ga.) (collectively, the “Actions”).

I.     RECITALS

       1.1     Beginning in June 2017, Plaintiffs filed putative class action Complaints in the

United States District Courts for the Eastern District of Virginia, Central District of California,

Northern District of California, Northern District of Georgia, District of Massachusetts, and

District of Oregon, alleging violations of the Racketeer Influenced and Corrupt Organizations Act

(“RICO”) and the usury laws of various states, among other claims, arising from loans made to

consumers by Big Picture or Red Rock Tribal Lending, LLC (“Red Rock”).

       1.2     The Actions collectively involved substantial discovery and motion practice,

including multiple motions to dismiss; the production and review of hundreds of thousands of

pages of documents; depositions and expert reports; an appeal to the Fourth Circuit Court of

Appeals; and pre-trial briefing and preparation, which – following significant arms-length

negotiations and multiple all-day mediations conducted by Nancy F. Lesser of PAX ADR Dispute

Resolution & Mediation Services and the Honorable David J. Novak – culminated in a Settlement

(see Section 2.24). During those mediation sessions, the fact that Troutman Sanders, LLP

represented multiple Defendants, including certain Settling Defendants and certain Non-Settling

Defendants, was fully disclosed to the Parties, the mediator, and the Honorable David J. Novak.

Troutman Sanders, LLP did not participate in discussions where any proposed settlement term

potentially adversely impacting any of the Non-Settling Defendants was being considered.


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       1.3     Based on Class Counsel’s investigation and the Parties’ negotiations, which

included Class Counsel’s extensive review of voluminous documents and data obtained in

discovery in related litigation and multiple depositions, and taking into account the sharply-

contested issues involved, the risks, uncertainty, and cost of further prosecution of this litigation,

and the substantial benefits to be received by Settlement Class Members pursuant to this

Settlement Agreement, Class Counsel have concluded that a settlement with the Settling

Defendants on the terms set forth herein is fair, reasonable, adequate and in the best interests of

the Settlement Class Members.

       1.4     The Tribe, the Big Picture Defendants, the Tribal Officials, the Individual Tribal

Defendants, Dowd, McFadden, and Liang assert that they are all entitled to tribal sovereign

immunity. Further, the Tribe, the Big Picture Defendants, the Tribal Officials, the Individual

Tribal Defendants, Dowd, McFadden, and Liang deny that any court in the Actions has subject

matter jurisdiction or personal jurisdiction over any of them. By entering into this Settlement

Agreement, Plaintiffs and Class Counsel have not conceded nor agreed to these defenses.

       1.5     The Columbia Defendants and the Amlaur Defendants deny that the Court in

Galloway II has subject matter jurisdiction or personal jurisdiction over any of them. By entering

into this Settlement Agreement, Plaintiffs and Class Counsel have not conceded nor agreed to these

defenses.

       1.6     The Settling Defendants deny all material allegations in the Complaints, deny any

jurisdiction in this Court save for purposes of enforcing this Settlement Agreement, deny any fault,

wrongdoing, or liability whatsoever arising out of or related to their business practices, and

affirmatively state that their practices have been lawful and proper. The Settling Defendants deny

that the resolution of the merits of the Actions is suitable for class treatment, and further deny




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liability to Plaintiffs or to others similarly situated, including all members of the Settlement Class.

It is specifically agreed that the execution of this Settlement Agreement is not, and shall not be

construed as, an admission of wrongdoing or liability by any Defendant, an admission that any

Defendant violated any provision of any federal or state law, or an admission that any Defendant

concedes that class treatment of the Actions is appropriate for any purpose other than certification

of a settlement class as set forth herein. By entering into this Settlement Agreement, Plaintiffs and

Class Counsel have not conceded nor agreed to the preceding assertions, disputes, and defenses.

       1.7     Based on the investigation and negotiations described above, Plaintiffs and Class

Counsel have concluded that it would be in the best interests of the Settlement Class to enter into

this Settlement Agreement in order to avoid the uncertainties of litigation and to assure benefits to

the Settlement Class and that the settlement contemplated hereby is fair, reasonable, and adequate,

and in the best interests of all members of the Settlement Class.

       1.8     The Parties understand, acknowledge and agree that the execution of this

Settlement Agreement constitutes the settlement and compromise of disputed claims. This

Settlement Agreement is inadmissible as evidence against any Party except to enforce the terms of

the Settlement Agreement and is not an admission of fact or law, or as a concession of any

wrongdoing, obligation, or liability on the part of any Party or the Tribe. The Parties desire and

intend to affect a full, complete, and final settlement and resolution of all existing disputes and

claims as set forth herein. The Parties agree that nothing in this Settlement Agreement shall

constitute a waiver by the Tribe, the Big Picture Defendants, the Tribal Officials, the Individual

Tribal Defendants, Dowd, McFadden, and/or Liang of sovereign immunity, except as specifically

and expressly provided herein, namely and only to the extent, of enforcement of this Settlement

Agreement.




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       1.9     The Settlement contemplated by this Settlement Agreement is subject to

preliminary approval and final approval by the Court, as set forth herein. This Settlement

Agreement is intended by the Parties to fully, finally, and forever resolve, discharge, and settle the

Released Claims, upon and subject to the terms and conditions hereof.

       NOW, THEREFORE, in consideration of the promises and agreements set forth herein, it

is hereby STIPULATED AND AGREED, subject to this Court’s approval, that each and every

claim that has been alleged, or could have been alleged based on the facts alleged in the Actions,

whether brought by or on behalf of Plaintiffs, the Settlement Class (as defined in Paragraph 2.32

below), or portions of the Settlement Class, shall be fully and finally settled and compromised and

dismissed with prejudice, and shall be fully discharged and released, upon and subject to the

following terms and conditions.

       The recitals stated above are true and accurate and are hereby made a part of the Settlement

Agreement.

II.    DEFINITIONS

       2.1     As used in this Settlement Agreement, the terms defined below shall have the

meanings assigned to them when capitalized in the same fashion as in this Section II. All other

terms shall have the meaning accorded to those terms in the operative complaint in the Actions.

       2.2     “Attorneys’ Fees” means the attorneys’ fees and expenses applied for by Class

Counsel relating to this Settlement Agreement and approved by the Court.

       2.3     “Claim” means any and all actions, causes of action, proceedings, adjustments,

executions, offsets, contracts, judgments, obligations, suits, debts, dues, sums of money, accounts,

reckonings, bonds, bills, specialties, variances, covenants, trespasses, damages, demands (whether

written or oral), agreements, promises, liabilities, controversies, costs, expenses, attorneys’ fees

and losses whatsoever, whether in law, in admiralty or in equity, whether by affirmative claim,


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counterclaim, or setoff, and whether based on any federal law, state law, foreign law or common

law right of action or otherwise, foreseen or unforeseen, matured or unmatured, known or

unknown, accrued or not accrued, existing now or that may later exist in the future, relating to

and/or arising out of loans made by and/or in the name of Big Picture, Castle Payday Loans, and/or

Red Rock that are the subject of the Actions.

       2.4     “Claim Amount” means a pro rata distribution to those members of the Settlement

Class who make a claim and have paid more than 2.5 times the amount of principal on their

respective loan. This Claim Amount will be the same regardless of the number of loans.

       2.5     “Claims Process” means the process by which a member of the Settlement Class

must complete a Claim Form certifying his or her membership in the Settlement Class and decision

electing to obtain a distribution from the Settlement Fund, as set forth in Section VIII.

       2.6     “Class Counsel” means Consumer Litigation Associates, P.C.; Kelly Guzzo PLC,

Terrell Marshall Law Group PLLC; Berger & Montague PC; Virginia Poverty Law Center; Gupta

Wessler PLLC; Tycko & Zavareei LLP; Caddell & Chapman; and their respective attorneys, as

listed on the operative complaints in the Actions.

       2.7     “Class Notice” means the notice (in form substantially similar to that attached

hereto as Exhibit A and approved by the Court) that will be emailed to Settlement Class Members

pursuant to the Notice Plan approved by the Court.

       2.8     “Consumer” means a natural person residing in the United States of America or its

territories who is a member of the Settlement Class.

       2.9     “Court” means the United States District Court for the Eastern District of Virginia.




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        2.10    “Settling Defendants’ Counsel” means Rosette, LLP; Troutman Sanders LLP;

Dorsey & Whitney LLP; Hinshaw and Culbertson LLP; Ruyak Cherian LLP; and Bellew LLC, as

set forth in the respective signature blocks below.

        2.11    “Effective Date” is the date on which this Court’s entry of the Final Approval Order

and this Court’s order regarding attorneys’ fees have all become final because the following has

occurred: (i) the expiration of three (3) business days after the time to file a motion to alter or

amend the Final Approval Order under Federal Rule of Civil Procedure 59(e) has passed without

any such motion having been filed; (ii) the expiration of three (3) business days after the time in

which to appeal the Final Approval Order has passed without any appeal having been filed (which

date shall be deemed to be thirty-three (33) days following the entry of the Final Approval Order,

unless the date to take such an appeal shall have been extended by Court order or otherwise, or

unless the thirty-third (33rd) day falls on a weekend or a Court holiday, in which case the date for

purposes of this Settlement shall be deemed to be the next business day after such thirty-third

(33rd) day); and (iii) if such motion to alter or amend is filed, or if an appeal is taken, three business

days after a determination of any such motion or appeal that permits the consummation of the

Settlement. For purposes of this definition, the term “appeal” includes all writ proceedings.

        2.12    “Final Approval” means the approval of the Settlement Agreement by the Court at

or after the Final Approval Hearing, and entry on the Court’s docket of the Final Approval Order.

        2.13    “Final Approval Hearing” or “Final Fairness Hearing” means the hearing at which

the Court will consider and finally decide whether to approve this Settlement, enter a judgment,

and make such other rulings as are contemplated by this Settlement. The Final Approval Hearing

shall be scheduled in accordance with the Notice Plan approved by the Court and following the

granting of Plaintiffs’ motion for Preliminary Approval of the Settlement.




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       2.14    “Final Approval Order” means a final order and judgment entered by the Court

giving Final Approval of the Settlement Agreement, dismissing with prejudice Plaintiffs’ claims

(which shall not include Plaintiffs’ Claims against the Non-Settling Defendants), and entering a

judgment in a form agreed to by the Parties according to the terms set forth in this Settlement

Agreement and as approved by the Court.

       2.15    “Named Plaintiffs” means Lula Williams; Gloria Turnage; George Hengle; Dowin

Coffy; Marcella Singh; Renee Galloway; Dianne Turner; Earl Browne; Rose Marie Buchert;

Regina Nolte; Kevin Minor; Teresa Titus; Lisa Martinez; Anthony Green; Sonji Grandy; Anastasia

Sherman; Burry Pough; Linda Madison; Dominque de la Bay; Lucinda Gray; Andrea

Scarborough; Jerry Avent; Lori Fitzgerald; Derek Geter; Keisha Hamm; Faith Thomas; Sharon

Paavo; Latanya Tarleton; Christina Cumming; Lamesha Kondo; Andrea Mendez; Tammy

Wangeline; Freeman Revels; Kimberly Pool; Tasha Pettiford; Richard L. Smith, Jr.; Victoria R.

McKoy; Desiree W. Lovins; Sandra Monsalve; Carrie S. Smith; Chris Kobin; and Dana Duggan.

       2.16    “Non-Settling Defendant” means any defendant in any of the Actions that is not

one of the Released Parties and/or Settling Defendants in this Settlement Agreement. The Non-

Settling Defendants include at this time, but are not limited to, Matt Martorello, Justin Martorello,

Rebecca Martorello, Jeremy Davis, Eventide Credit Acquisitions, Bluetech Irrevocable Trust,

Kairos Holdings, LLC, Liont, LLC, Breakwater Holdings, LLC, and Gallant Capital, LLC.

       2.17    “Notice Plan” means the plan for disseminating notice to Settlement Class

Members that is approved by the Court, as described in Sections 6.6 through 6.8.

       2.18    “Objection Deadline” shall be the final date set by the Court for Settlement Class

Members to return notice of their objection to this Settlement, which shall be thirty (30) days prior

to the Final Approval Hearing.




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       2.19    “Payment Notices” means the notices sent at the time of payment to Settlement

Class Members who submit Valid Claims pursuant to Section VIII.

       2.20    “Preliminary Approval” means the preliminary approval of the Settlement

Agreement by the Court, conditional certification of the Settlement Class, and approval of the

Notice Plan by the Court, including the method and content of notice to the Settlement Class

Members.

       2.21    “Released Claims” means those Claims released as set forth in Section 12.3 below.

       2.22    “Released Parties” shall include the Tribe and its current and former Tribal

Officials; the Individual Tribal Defendants; Big Picture; Ascension; Red Rock; Duck Creek Tribal

Financial, LLC (“Duck Creek”); Tribal Economic Development Holdings, LLC (“TED”);

Columbia Pipe & Supply Co. (“Columbia Pipe”); DTA Wealth Transfer Trust (“DTA Wealth”);

Deborah M. Arenberg Living Trust (“DMA Living”); Amlaur Resources, LLC (“Amlaur”) and

each of their current and former directors, officers, principals, trustees, shareholders, partners,

contractors, agents, attorneys (including, Rosette Holdings, LLC, Rosette, LLP, Robert A. Rosette,

and Karrie S. Wichtman). The Released Parties also specifically include: (1) Simon Liang;

(2) Brian McFadden; (3) James Dowd; (4) Terrance Arenberg; (5) Timothy Arenberg; (6) Brian

Jedwab; (7) Alice Brunk; (8) Tina Caron; (9) Michelle Hazen; (10) Roberta Ivey; (11) Gertrude

McGeshick; (12) Jeffery McGeshick; (13) Mitchell McGeshick; (14) Susan McGeshick;

(15) Giiwegiizhigookway Martin; (16) Andrea Russell; (17) June Saad; (18) all members (past

and present) of the LVD Tribal Council, each in their individual and official capacity; (19) Henry

Smith; and (20) James Williams, Jr. The “Released Parties” shall not include Matt Martorello,

Justin Martorello, Rebecca Martorello, Jeremy Davis, Eventide Credit Acquisitions, LLC,




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Bluetech Irrevocable Trust, Kairos Holdings, LLC, Liont, LLC, or any other entities owned,

directly or indirectly, by Matt Martorello, Justin Martorello or Rebecca Martorello.

          2.23   “RICO” means the federal Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. §§ 1961, et seq., and any subsequent amendments thereto.

          2.24   “Service Awards” means the payments to Named Plaintiffs for their service as class

representatives of the Settlement Class as set forth in Section 10.11, subject to approval by the

Court.

          2.25   “Settlement” means the agreement between the Named Plaintiffs as proposed

representatives of the Settlement Class, and Settling Defendants, to settle and compromise, fully,

finally, and forever, the Named Plaintiffs’ and the Settlement Class Members’ Claims in the

Actions, as memorialized in this Settlement Agreement and the accompanying documents attached

hereto.

          2.26   “Settlement Administrator” means the class settlement administration company

mutually agreeable to all Parties and approved by the Court, which has been hired by the Parties

to provide the Class Notice and to carry out the other specified, administrative tasks set forth in

this Settlement Agreement.

          2.27   “Settlement Agreement” means this Class Action Settlement Agreement and

Release.

          2.28   “Settlement Class” or “Settlement Class Member” means all consumers residing

within the United States who executed loan agreements with Red Rock, Castle Payday Loans, or

Big Picture (including loans assigned to Big Picture) from June 22, 2013 to the date of the

Preliminary Approval Order; provided, however, that “Settlement Class” and “Settlement Class

Member” shall exclude: (i) all consumers who would otherwise qualify for membership in the




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“Settlement Class” for which the consumer previously has released all claims as to the Settling

Defendants; (ii) Settling Defendants’ officers, directors, and employees; (iii) Settling Defendants’

attorneys; (iv) Plaintiffs’ attorneys; and (v) any judge who has presided over either mediation or

disposition of this case and the members of his or her immediate family.

       2.29    “Settlement Fund” means the amount paid pursuant to Sections 10.1 and 10.2

herein. The Settlement Fund shall be inclusive of any and all Service Awards, Attorneys’ Fees,

costs, expenses, notice to the Settlement Class Members, and settlement administration costs.

       2.30    “Settlement Website” means the internet website established by the Settlement

Administrator for purposes of facilitating notice to, and communicating with, the Settlement Class

and for receipt of online claims.

       2.31    “Tribal Officials” means the Individual Tribal Defendants and/or any past or

present members of the Lac Vieux Desert Band of Lake Superior Chippewa Indians Tribal Council

and/or any employees of the Tribe or any arms of the Tribe.

       2.32    “Valid Claim” means a claim filed pursuant to Section VIII by a Settlement Class

Member who (1) repaid his or her loan in full, and also (2) paid more than 2.5 times the original

principle amount of the loan in payments over the life of the loan.

III.   NO ADMISSION OF LIABILITY OR TO THE ELEMENTS OF CLASS
       CERTIFICATION FOR PURPOSES OF MERITS RESOLUTION.

       3.1     Settling Defendants’ Denial of Wrongdoing or Liability. Settling Defendants have

asserted and continue to assert many defenses in these Actions and have expressly denied and

continue to deny any fault, wrongdoing, or liability whatsoever arising out of the conduct alleged

in the Actions. Settling Defendants expressly deny any fault, wrongdoing, or liability whatsoever,

as well as the validity of each of the claims and prayers for relief asserted in the Actions. The

Parties expressly acknowledge and agree that neither the fact of, nor any provision contained in,



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this Settlement Agreement nor any of the implementing documents or actions taken under them,

shall constitute or be construed as an admission of the validity of any claim, any status, or any fact

alleged in the Actions or any fault, wrongdoing, violation of law, or liability of any kind on the

part of Settling Defendants and/or the Released Parties, or any admission by Settling Defendants

and/or the Released Parties of any claim or allegation made in any action or proceeding against

Settling Defendants. Settling Defendants have denied and continue to deny each and all of the

claims and allegations in the Actions. Neither this Settlement Agreement nor any document

referred to herein, nor any action taken to carry out this Settlement Agreement and/or the

Settlement, or Settling Defendants’ willingness to enter into this Settlement Agreement, nor any

or all negotiations, communications, and discussions associated with the Settlement are, or may

be construed as, or may be used in any proceeding as, an admission by or against any or all Settling

Defendants of any fault, wrongdoing or liability whatsoever, or any infirmity of any defenses

asserted by any or all Settling Defendants.

       3.2     No Waiver of Tribal Sovereign Immunity. The Big Picture Defendants, the Tribe,

the Individual Tribal Defendants, the Tribal Officials, Dowd, McFadden, and Liang expressly

assert that they are all entitled to tribal sovereign immunity. Neither this Settlement Agreement

nor any document referred to herein, nor any action taken to carry out this Settlement Agreement

and/or the Settlement, or Defendants’ willingness to enter into this Settlement Agreement, nor any

or all negotiations, communications, and discussions associated with the Settlement are, or may

be construed as, or may be used in any proceeding as, an admission by or against the Big Picture

Defendants, the Tribe, the Individual Tribal Defendants, the Tribal Officials, Dowd, McFadden,

and/or Liang of any waiver of sovereign immunity.




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        3.3     No Admission of Applicability or Inapplicability of State Law or State Regulation.

The Big Picture Defendants, the Tribe, the Individual Tribal Defendants, and the Tribal Officials

expressly deny that they – or any of their loans or lending activity – are subject to the laws and/or

regulations of any state. Plaintiffs expressly assert that they – and any of their loans or lending

activity – are subject to the laws and/or regulations of their respective states. Neither this

Settlement Agreement nor any document referred to herein, nor any action taken to carry out this

Settlement Agreement and/or the Settlement, or the Parties’ willingness to enter into this

Settlement Agreement, nor any or all negotiations, communications, and discussions associated

with the Settlement are, or may be construed as, or may be used in any proceeding as, an admission

by or against any Party as to the application of state law and/or state regulation to the Settling

Defendants, their loans, or their activities.

        3.4     No Admission by Settling Defendants of Elements of Class Certification for Merits

Resolution. Settling Defendants deny that a class should be certified other than for purposes of

this Settlement and reserve their rights to contest any class certification motion should this

Settlement Agreement not be approved by the Court. Settling Defendants contend for settlement

purposes only that the Actions could be certified as a class action under Federal Rule of Civil

Procedure 23, including Rule 23(b)(2) and/or 23(b)(3). Nothing in this Settlement Agreement

shall be construed as an admission by any Defendant that the Actions or any similar case is

amenable to class certification for trial purposes.      Furthermore, nothing in this Settlement

Agreement shall prevent Settling Defendants from opposing class certification or seeking de-

certification of the conditionally certified Settlement Class if Final Approval of this Settlement is

not obtained, or not upheld on appeal, including, without limitation, any review by the United

States Supreme Court.




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        3.5     None of the foregoing disclaimers in this Section should be construed as an

admission or stipulation by Plaintiffs and Class Counsel regarding the Released Parties’ defenses,

including the disputed issues of sovereign immunity, the application of state law, and/or the

legality of the subject lending practices.

        3.6     Admissibility of this Settlement Agreement and Release. The Parties agree that

this Settlement Agreement, its terms and provisions, and any facts surrounding its entry by the

Parties shall not be used in any court of law, including the Actions, for any purpose other than

those permitted under Section 14.1 below.

IV.     CERTIFICATION OF THE SETTLEMENT CLASS

        4.1     Certification of Settlement Class. Plaintiffs shall seek, and Settling Defendants

shall not oppose, the certification for settlement purposes only of the Settlement Class under Rule

23(b)(2) of the Federal Rules of Civil Procedure. If the Settlement Agreement is not finally

approved by the Court for any reason whatsoever, the certification of the Settlement Class will be

void, and no doctrine of waiver, estoppel, or preclusion will be asserted in any litigated certification

proceedings in this Action. No agreements made by or entered in connection with the Settlement

Agreement may be admitted as evidence or used in any way by Plaintiffs, Settling Defendants, any

person in the Settlement Class, or any other person to establish any of the elements of liability or

class certification other than as expressly provided herein in any litigated certification proceedings,

whether in the Actions or any other judicial proceeding.

        4.2     Appointment of Class Counsel and Class Representatives. For Settlement purposes

only, Plaintiffs shall also seek, and Settling Defendants shall not oppose, appointment of Class

Counsel, and appointment of the Named Plaintiffs as class representatives, to represent the

Settlement Class.

V.      PRELIMINARY APPROVAL


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       5.1     Amended Complaint and Single Case for Settlement. Upon execution of this

Settlement Agreement and prior to the filing of the Motion for Preliminary Approval of this

Settlement Agreement, Plaintiffs in Galloway III shall seek leave to amend their complaint to add

the Plaintiffs and the Settling Defendants from the other Actions, after which Williams, Galloway

I, Galloway II, Duggan, and Smith shall be voluntarily dismissed as to the Settling Defendants

only. The amended complaint in Galloway III shall represent a consolidation of the allegations

against the Settling Defendants and will name all of the Settling Defendants. The Parties agree to

consent to Plaintiffs’ request to amend their complaint in Galloway III solely for the purposes of

effectuating this Settlement. The Settling Defendants do not by such consent agree that the

allegations that may be contained in such amended complaint are true, correct, or accurate. In the

event this Settlement is not finally approved, Plaintiffs shall file whatever motions and pleadings

are necessary to ensure that the Parties are postured in the respective Actions as they were prior to

the aforementioned amendment as if such amendment intended for settlement purposes had never

occurred.

       5.2     Order of Preliminary Approval. Plaintiffs shall move the Court for entry of the

Preliminary Approval Order subsequent to the amendment described in Section 5.1. Pursuant to

the motion for preliminary approval, Plaintiffs will request that:

               5.2.1   the Court certify the Settlement Class for settlement purposes only, appoint

the Named Plaintiffs as the class representatives of the Settlement Class for settlement purposes

only, and appoint Class Counsel as counsel for the Settlement Class for settlement purposes only;

               5.2.2   the Court preliminarily approve the Settlement Agreement as fair, adequate,

and reasonable, and within the reasonable range of possible Final Approval;




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               5.2.3   the Court approve the form(s) of Class Notice and find that the Notice Plan

satisfies due process and Rule 23 of the Federal Rules of Civil Procedure;

               5.2.4   the Court set the date and time for the Final Fairness Hearing, which may

be continued by the Court from time to time without the necessity of further notice; and,

               5.2.5   the Court set the Objection Deadline.

       5.3     Stay. Other than actions taken for purposes of effectuating the Settlement and those

items covered in Sections 6.2 of this Settlement Agreement and subject to Court approval, the

Parties agree to jointly move the respective Courts for stays of the Actions – including all pending

motions and discovery directed to the Parties – and any related appeals after preliminary approval

and pending Final Approval of this Settlement Agreement with respect to Settling Defendants

only. The stay will not apply to the prosecution of claims against the Non-Settling Defendants.

VI.    ADMINISTRATION AND NOTIFICATION PROCESS

       6.1     Appointment of Settlement Administrator. Class Counsel will cause to be hired the

Settlement Administrator, subject to reasonable objection by the Settling Defendants and approval

by the Court. The Settlement Administrator shall be responsible for carrying out the specified

tasks set forth in this Settlement Agreement, including, but not limited to, creating a post office

box for receipt of objections and maintaining records of all its activities, including the dates of

Class Notices, mailed checks, returned mail, and any other communications and attempted

communications with the Settlement Class Members.

       6.2     Provision of Data and Information for Settlement Purposes as to Settling

Defendants. Within thirty (30) days after entry of the Preliminary Approval Order and only as part

of this Settlement, the Big Picture Defendants agree to provide a list of names, postal addresses,

and email addresses, all if known, for Settlement Class Members to the Settlement Administrator

approved by the Court for the purposes of effectuating this Settlement. The Big Picture Defendants


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will cooperate with the Settlement Administrator to the extent that additional personally-

identifiable information is necessary to locate a Settlement Class Member. The Big Picture

Defendants shall also provide Loan-Level information regarding each Settlement Class Member’s

loan sufficient to demonstrate the original principal balance of the loan, the interest rate, and the

amount and timing of any payments the Settlement Class Member made on the Loan, as well as

any other loan-level information reasonably requested by Class Counsel for purposes of

effectuating the Settlement and for no other purpose. Class Counsel shall have five (5) business

days to review and approve the class data and/or class list, or to notify the Big Picture Defendants

of any objections to its completeness. In the event this Settlement is not finally approved, within

five (5) business days of such an occurrence, Class Counsel shall destroy all copies of such data

that remain in their possession, custody, or control, and shall certify to each Settling Defendant

that they have done so.

       6.3     Class Certification as to a Non-Settling Defendant. If a class action is certified

against a non-Settling Defendant in one or more of the Actions, the Big Picture Defendants will

provide (or provide authorization for third parties to provide) data sufficient to identify class

members, to determine the terms of class members’ loans, to determine payments made by class

members on their loans, to determine which loans have been charged off, to determine all

outstanding amounts owed under the terms of class members’ loan agreements, and any other data

or information about class members and their loans which is reasonably requested by Class

Counsel and under this provision, such data may only be used for the purpose of creation of a class

list or distribution of funds to class members, or to effectuate a subsequent settlement with such

Non-Settling Defendant. Subject to the provisions in Section 6.4 below, upon Twenty-One (21)

calendar days’ notice, in response to a reasonable request from Plaintiffs, the Big Picture




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Defendants shall also provide evidence necessary to establish the availability of this data to

identify class membership in a contested class certification motion.

       6.4     Other Uses     Plaintiffs have represented that they may need additional data,

documents, and information to establish liability or for other important purposes in the Actions

other than class certification, including by example only and without limitation, information from:

TransDotCom, LLC, Data X, LLC, and Microbilt (as it relates to the Actions); emails and

communications by Non-Settling Defendants to which the Tribe or Tribal Officials were not a

party; and loan-level information regarding each Settlement Class Member’s loan sufficient to

demonstrate the original principal balance of the loan, the interest rate, and the amount and timing

of any payments the Settlement Class Member made on the loan. The Settling Defendants have

neither agreed nor refused to provide this information and documents to the Plaintiffs as a term of

the Settlement. If such request is made to the Big Picture Defendants by the Plaintiffs, Plaintiffs

will discuss their request(s) with Robert Rosette and both sides agree to negotiate and attempt to

resolve any disagreement in good faith. Any remaining disputes will be resolved in accordance

with Section 6.5.

       6.5     If the Parties are not able to reach an agreement on Plaintiffs’ request(s), the

Honorable. David J. Novak will conduct binding mediation of the disputed issues.

       6.6     Notice Process Generally. Subject to approval by the Court, Class Notice shall be

provided to all persons in the Settlement Class in accordance with the Notice Plan approved by the

Court. The form of the Class Notice is attached hereto as Exhibit A for all Settlement Class

Members. Class Notice will be sent in accordance with Fed. R. Civ. P. 23(c) in the manner

approved by the Court through email notice to verified email addresses to each Settlement Class




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Member identified on the Class List. Class Notice shall be emailed no later than thirty (30) days

after the class list is reviewed by Class Counsel.

       6.7     Settlement Website. The Settlement Administrator shall establish an Internet

domain and website containing information about the Settlement. The Settlement Website will be

accessible by no later than the date of the electronic mailing of the Class Notices. The Settlement

Website will post the Settlement Agreement, the Class Notice, Claim Form, the Preliminary

Approval Order, the proposed Final Judgment, and, if not included in the Preliminary Approval

Order, any court order setting a date and time for the Final Fairness Hearing, and all other

documents and information requested by Plaintiffs, subject to reasonable objection by another

Party, and any other information required by the Court. Any information appearing on the

Settlement Website in addition to the above-listed documents shall be subject to joint approval of

the Parties. The Settlement Website also will offer a Spanish-language translation option. The

Settlement Website also will detail a process through the website and direct e-mail notice by which

a Settlement Class Member can review an estimated claim amount before submitting either a

mailed or electronic claim as well as a process to determine, after the claim deadline has passed,

an approximate amount of recovery and may elect to withdraw his or her claim. A Settlement

Class Member may elect to withdraw his or her claim only by U.S. Mail. The Settlement Website

shall be disestablished by the Settlement Administrator within ninety (90) days following the

mailing of the last payment to a Settlement Class Member.

       6.8     Telephone Assistance Program. The Settlement Administrator will establish a toll-

free telephone number, which will be staffed by the Settlement Administrator, to answer questions

from Settlement Class Members. The toll-free number will provide access to live support, a voice




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response unit (“VRU”) or a combination of live support and VRU.               It shall also offer a

Spanish-language alternative number and VRU.

       6.9     Expenses of Notice and Administration. All Class Notice, Payment Notices, and

other class administration costs shall be invoiced by the Settlement Administrator and paid

promptly from the Settlement Fund, as set forth in Sections 6.10 and 6.11 below. Any disputes

relating to this Subsection shall be brought to the Honorable David J. Novak for binding resolution.

       6.10    Expenses Paid Through the Settlement Fund. The total expenses associated with

Class Notice, Payment Notices, and any other class administration costs (including any consulting

costs), shall not increase the amount paid by any of the Settling Defendants as part of the

Settlement under any circumstance. Any and all payments shall come from the Settlement Fund

before the calculation of net settlement payments to Settlement Class Members. The Settlement

Administrator shall invoice and charge as to each subsequent distribution against the payments to

be made in that distribution.

       6.11    In the event that the Big Picture Defendants advance payments for purposes of

effectuating the Notice Plan and administration of the Settlement as provided in Sections 6.6

through 6.8 (as provided in Section 10.1), the Big Picture Defendants will provide an accounting

of the payments to Class Counsel. Any disagreement or objection as to the advance payments will

be raised with Honorable David J. Novak for binding resolution.

       6.12    Notice under Class Action Fairness Act of 2005 (“CAFA Notice”). Settling

Defendants will send the CAFA Notice in accordance with 28 U.S.C. § 1715(a)-(b), not later than

ten (10) days after this Settlement Agreement is filed with the Court.

       6.13    Notice to Court. No later than fourteen (14) days prior to the Final Fairness Hearing,

the Settlement Administrator shall file with the Court and serve on counsel for all Parties a




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declaration stating that the Class Notice required by the Settlement Agreement has been

completed, as well as implementation of the Settlement Website, toll-free telephone support, and

copies of all objections received.

       6.14    Confidentiality. The Settlement Administrator (and any person retained by the

Settlement Administrator) shall sign a confidentiality agreement in a form agreed to by all counsel

for the Parties. The confidentiality agreement will provide that the Settlement Administrator (and

any person retained by the Settlement Administrator) shall treat as confidential the names,

addresses, and all other information concerning Settlement Class Members. The confidentiality

agreement will further provide that the Settlement Administrator (and any person retained by the

Settlement Administrator) shall use such information only for the purposes of fulfilling the

Settlement Administrator’s duties and responsibilities as provided for under this Settlement

Agreement.

VII.   PROCEDURES FOR OBJECTIONS

       7.1     Objections from Settlement Class Members. Any Settlement Class Member may

appear at the Final Fairness Hearing to argue that the proposed Settlement should not be approved

and/or to oppose the application of Class Counsel for an award of Attorneys’ Fees and costs and

the Service Awards to the Named Plaintiffs. However, no individual within the Settlement Class

shall be heard, and no objection may be considered, unless the individual files the objection with

the Court no later than thirty (30) days before the Final Fairness Hearing and serves the objection

so that it is received by representative Class Counsel, representative Settling Defendants’ Counsel

(who shall forward a copy of each objection received to the other Settling Defendants’ Counsel),

and the Settlement Administrator no later than thirty (30) days before the Final Fairness Hearing;

provided, however, objections to the Class Counsel’s Attorneys’ Fees or the requested Service

Awards may be supplemented up to seven (7) days after the filing of a motion for such fees or


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awards to address additional information or materials in the motion. Copies of all objection papers

must be sent to the following addresses:

  Class Counsel Representative                       Big Picture Defendants’ Counsel
                                                     Representative
  Leonard A. Bennett
  Consumer Litigation Associates, PC                 Karrie S. Wichtman
  763 J Clyde Morris Blvd., Suite 1A                 Lac Vieux Desert Band of Lake Superior
  Newport News, VA 23601                             Chippewa Indians
  Telephone: (757) 930-6330                          N4698 US 45, P.O. Box 249
  Facsimile: (757) 960-3662                          Watersmeet, Michigan 49969
  Email: lenbennett@clalegal.com                     Telephone: (906) 358-4577, extension 4127
                                                     Email: karrie.wichtman@lvdtribal.com

  Big Picture Defendants’ Counsel                    Settlement Administrator
  Representative
                                                     Settlement Administrator to be approved by
  Robert A. Rosette                                  the Court.
  Rosette, LLP
  565 W. Chandler Boulevard
  Suite 212
  Chandler, Arizona 85225
  Telephone: (480) 889-8990
  Facsimile: (480) 899-8997
  Email: rosette@rosettelaw.com


       7.2     All objections must include: (1) the objector’s name, address, telephone number,

and the last four digits of the Settlement Class Member’s Social Security number; (2) a sentence

stating that to the best of his or her knowledge he or she is a member of the Settlement Class; and

(3) the factual basis and legal grounds for the objection to the Settlement; and (4) the name, firm

name, phone number, email address, and mailing address of counsel representing the objector, if

any. The written objection must state whether the Settlement Class Member and/or his or her

lawyer(s) intend to appear at the Final Fairness Hearing. Any lawyer who intends to appear at the

Final Fairness Hearing must also enter a written Notice of Appearance of Counsel with the Clerk

of the Court no later than thirty (30) days before the Final Fairness Hearing and shall include the




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full style and case number of each previous class action case in which that counsel has represented

an objector. To the extent necessary or desired, the Parties may respond to any properly-filed

objections no later than fourteen (14) days before the Final Fairness Hearing.

       7.3     A Settlement Class Member who objects to the Settlement may withdraw that

objection. Any Settlement Class Member that does not make an objection in the time and manner

set forth herein shall be deemed to have waived any objection and be forever foreclosed from

making any objection to the fairness or adequacy of any aspect of the Settlement.

VIII. SETTLEMENT CLAIMS PROCESS

       8.1     In order to receive a payment from the Settlement Fund, a Settlement Class Member

must submit a Claim Form, no later than sixty (60) days from the date of mailing the Class Notices,

by either: (1) submitting a Claim Form on the Settlement Website; or (2) returning to the

Settlement Administrator, via U.S. mail, the completed Claim Form attached to the Class Notice.

       8.2     Submission of claims pursuant to this Section shall be permitted commencing on

the first day on which Class Notice is disseminated.

       8.3     To be eligible for any payment from the Settlement Fund, a Settlement Class

Member must submit a Valid Claim by completing a Claim Form, which shall be provided within

the Class Notice to all Settlement Class Members and also made available for download or

submission on the Settlement Website or by request from the Settlement Administrator. The Claim

Form shall be streamlined, requiring only the Settlement Class Member’s name, current postal

address, date of birth, and the last four digits of the Settlement Class Member’s Social Security

number. The Claim Form shall also solicit and recommend Settlement Class Members submit an

updated email address and current telephone number of the Class Member. However, an email

address and phone number shall not be required. The Claim Form and the Settlement Website

shall provide complete instructions for completion of this claims process. Each Class Member


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may submit only one Claim Form regardless of the number of loans the Class Member had with

the Big Picture Defendants and that Claim Form will apply to all loans the Class Member had with

the Big Picture Defendants.

       8.4     Claim Forms submitted by U.S. mail shall contain the same information as

contained in the electronic form (plus the individual’s signature) and shall be mailed to a separate,

dedicated post office box established by the Settlement Administrator, as provided herein.

       8.5     Deceased Claimants. Claims may be filed by deceased Settlement Class Members

through authorized representatives of their estates if appropriate documentation is provided. Any

claim paid to a deceased consumer shall be made payable to the estate of the deceased.

       8.6     Determining the Validity of Claims.            Claim Forms, whether submitted

electronically via the Settlement Website or by U.S. mail, that do not meet the requirements as set

forth in this Settlement Agreement shall be rejected. The Settlement Administrator shall have the

authority to determine whether a claim is a Valid Claim.          The Settlement Administrator’s

determination in this regard shall be final and non-appealable unless Settling Defendants’ Counsel

or Class Counsel disagree, in which case the determination shall be made by the Honorable David

J. Novak. The Settlement Administrator shall promptly notify such individual that his or her claim

has been denied and why it has been denied. Settlement Class Members shall have an opportunity

to cure deficient claims.

       8.7     The Settlement Administrator shall notify, in a prompt fashion, any Settlement

Class Member whose Claim Form has been rejected, setting forth the reasons therefore. The

Settlement Administrator shall timely provide copies of all rejection notices to Class Counsel and

to Settling Defendants’ Counsel. Such claimant shall have an additional twenty-one (21) days




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after the date this notice is mailed to correct and resubmit the defective claim, but any subsequent

determination by the Class Administrator on any resubmitted notice shall be final.

       8.8     No Liability for Determinations Relating to Validity of Claims. No person shall

have any claim against Settling Defendants, Plaintiffs, the Settlement Class, Class Counsel,

Settling Defendants’ Counsel, or the Settlement Administrator based on any claim determinations

made in accordance with this Settlement Agreement.

IX.    FINAL FAIRNESS HEARING AND FINAL APPROVAL

       9.1     Final Fairness Hearing. The Parties will jointly request that the Court hold the Final

Fairness Hearing to consider approval of the Settlement of the Actions in accordance with the time

period specified in the Notice Plan approved by the Court. On or before a date at least fourteen

(14) days prior to the Final Fairness Hearing, Class Counsel shall file a motion for entry of the

Final Approval Order. The Parties agree that, upon entry, the Final Approval Order constitutes a

final judgment dismissing the Actions with prejudice as to Settling Defendants and all of the

Released Parties.

       9.2     Final Approval. Unless stated otherwise herein, all relief contemplated by this

Settlement Agreement is expressly contingent upon the Settlement Agreement receiving the

Court’s Final Approval.

X.     SETTLEMENT FUND

       10.1    Creation of and Deposit into Settlement Fund. Class Counsel, in conjunction with

the Settlement Administrator, shall establish an escrow account or equivalent account at Towne

Bank (the “Financial Institution”), which shall be considered a common fund created as a result of

the settlement of the Actions. The Settlement Administrator shall direct the Financial Institution

to make distributions from the Settlement Fund only in accordance with this Settlement

Agreement. No funds shall be distributed or paid by the Financial Institution without written


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confirmation from both Class Counsel and Settling Defendants’ Counsel. Class Counsel shall

promptly notify the other Parties of the date of the establishment of the account. Subject to credits

for amounts that were previously paid by the Big Picture Defendants for purposes of effectuating

the Notice Plan and administration of the Settlement as provided in Sections 6.6 through 6.8, the

Big Picture Defendants shall make deposits totaling $8,700,000.00 to the Settlement Fund on the

following schedule: (1) $2,900,000 within Ninety (90) days after the Effective Date; (2) an

additional $2,900,000.00 within One (1) years after the Effective Date; and (3) an additional

$2,900,000.00 within Two (2) years after the Effective Date. The failure of the Big Picture

Defendants to perform as to this term will constitute a material breach. The Settlement Fund may

not be commingled with any other funds and may be held in cash, cash equivalents, certificates of

deposit, or instruments insured by an arm of or backed by the full faith and credit of the United

States Government. Interest earned, if any, on the Settlement Fund shall be for the benefit of the

Settlement Class Members who submit Valid Claims in the event this Settlement Agreement is not

terminated by the Settling Defendants and the Effective Date otherwise occurs.

       10.2    Dowd, Liang, and McFadden each presently own discrete membership interests in

Eventide Credit Acquisitions, LLC (“Eventide”), which is entitled to receive payments from the

Loan Agreement and Promissory Note dated September 14, 2015 between Eventide and TED (the

“Eventide Note”). As separate and distinct consideration for the respective releases granted to

each of them under this Settlement, each of Dowd, Liang, and McFadden shall transfer to the

Settlement Fund their respective Eventide membership interests, including their respective

interests in future Eventide distributions, if any, received under the Eventide Note (separately and

collectively, Dowd’s, Liang’s, and McFadden’s “Eventide Interests”) subject to the Parties’

understanding that such transfer must be structured in such a way as to: (a) avoid any tax liability




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to Dowd, Liang, and McFadden; (b) comply with the terms of the Eventide Note; (c) comply with

the terms of the Eventide Operating Agreement; and (d) if necessary because it is not possible to

satisfy requirements (a), (b) and (c), through the direct transfer of their Eventide Interests,

effectuate the transfer or assignment to the Settlement Fund of their respective future Eventide

distributions, if any. The transfer of the Eventide Interests shall be made in a manner to avoid

Dowd, Liang, or McFadden incurring any tax liabilities; however, in the event that is not possible,

such transfer shall be made, less whatever amounts are necessary to satisfy any tax liabilities

incurred by Dowd, Liang, or McFadden as the result of receiving such distributions before

payment to the Settlement Fund. The Parties and Settlement Administrator shall provide their

reasonable cooperation to accomplish the transfer of the Eventide Interests contemplated under

this Section 10.2. Any disputes relating to this Section 10.2 shall be brought to the Honorable

David J. Novak for resolution.

       10.3    Settlement Fund Distributions.     The Settlement Fund will be used to make

distributions to the Settlement Class Members who submit a Valid Claim from the Settlement Fund

under the process set forth below. Class Counsel will: (1) request an award of Attorneys’ Fees in

an amount not to exceed Thirty-three percent (33%) of the Settlement Fund; and (2) seek the

disbursement of the remaining balance of the costs of the Notice Plan and administration out of

the Settlement Fund. The remainder of the Settlement Fund shall be used to pay Settlement Class

Members who submit a Valid Claim on a pro rata basis, as set forth below. Distribution checks

will be void after ninety (90) days. To the extent that Attorney’s Fees are awarded by the Court

in an amount that is less than what is sought by Class Counsel at the time of Final Approval, the

difference shall be credited to the Settlement Fund.




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       10.4      Costs of Notice and Administration Expenses Deduction. Prior to Final Approval,

costs of notice and any other expenses incurred in the administration of the Settlement shall be

paid by the Big Picture Defendants within ten (10) business days of receiving advance, written

notice from the Settlement Administrator for amounts to be invoiced by the Settlement

Administrator to the Big Picture Defendants for costs and any other expenses incurred in the

administration of the Settlement. This amount shall be credited against the initial payment of

$2,900,000.00 scheduled to be paid within Ninety (90) days of the Effective Date. The Big Picture

Defendants, therefore, will fund the Settlement Fund in two stages: first to pay the costs of notice

and any other expenses incurred in the administration of the Settlement in accordance with Section

6.6-6.10; and second to pay the remainder of the Settlement Fund in accordance with Section 10.1.

Under no circumstance shall the total amount paid by the Big Picture Defendants into the

Settlement Fund exceed $8,700,000.00. Under no circumstances shall the total amount paid by

Dowd, Liang, and McFadden into the Settlement Fund exceed the Eventide Interests (addressed in

Section 10.2).

       10.5      Settlement Fund Tax Status. The Parties agree to treat the Settlement Fund as being

at all times a “qualified settlement fund” within the meaning of Treas. Reg. § 1.468B-1. The

Settlement Administrator shall timely make such elections as necessary or advisable to carry out

the provisions of this Subsection, including the “relation back election” (as defined in Treas. Reg.

§ 1.468B-1) back to the earliest permitted date. Such elections shall be made in compliance with

the procedures and requirements contained in such regulations. It shall be the responsibility of the

Settlement Administrator to timely and properly prepare and deliver the necessary documentation

for signature by all necessary parties, and thereafter to cause the appropriate filing to occur. For

the purpose of Treasury Regulation § 1.468B of the Internal Revenue Code of 1986, as amended,




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and the regulations promulgated thereunder, the “administrator” shall be the Settlement

Administrator. The Settlement Administrator shall timely and properly file all informational and

other tax returns necessary or advisable with respect to the Settlement Fund (including, without

limitation, the returns described in Treas. Reg. § 1.468B-2(k)). Such returns shall be consistent

with this Subsection and in all events shall reflect that all federal or state income taxes (“Taxes”)

(including any estimated Taxes, interest or penalties) on the income earned by the Settlement Fund,

if any, shall be paid out of the Settlement Fund.

       10.6    Tax Liabilities. All (a) taxes (including any estimated Taxes, interest or penalties)

arising with respect to any income earned by the Settlement Fund, including any Taxes or tax

detriments that may be imposed upon the Released Parties with respect to any income earned by

the Settlement Fund for any period during which the Settlement Fund does not qualify as a

“qualified settlement fund” for federal or state income tax purposes, and (b) expenses and costs

incurred in connection with the operation and implementation of this Subsection (including,

without limitation, expenses of tax attorneys and/or accountants and mailing and distribution costs

and expenses relating to filing (or failing to file) the returns herein (“Tax Expenses”), shall be paid

out of the Settlement Fund. In no event shall the Released Parties have any responsibility for or

liability with respect to the Taxes or the Tax Expenses. The Settlement Administrator shall

indemnify and hold the Released Parties harmless for Taxes and Tax Expenses (including, without

limitation, Taxes payable by reason of any such indemnification). Further, Taxes and Tax

Expenses shall be timely paid by the Settlement Administrator out of the Settlement Fund without

prior order from the Court, and the Settlement Administrator shall be obligated (notwithstanding

anything herein to the contrary) to withhold from distribution any funds necessary to pay such

amounts, including the establishment of adequate reserves for any Taxes and Tax Expenses (as




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well as any amounts that may be required to be withheld under Treas. Reg. § 1.468B-2(l)); the

Released Parties are not responsible therefore nor shall they have any liability with respect thereto.

The Parties hereto agree to cooperate with the Settlement Administrator, each other, and their tax

attorneys and accountants to the extent reasonably necessary to carry out the provisions of this

Section. The Settlement Administrator has discretion to submit whatever tax form(s) it deems

appropriate to any Settlement Class Member.           The Settling Defendants do not make any

representation or warranty as to the appropriate tax treatment of any provision of this Settlement

Agreement.

       10.7    Attorneys’ Fees. No later than fourteen (14) days before the Final Approval

Hearing, Class Counsel shall file an application or applications to the Court for reimbursement of

Attorneys’ Fees and costs from the overall Settlement Fund, not to exceed Thirty-three percent

(33%) of the Settlement Fund. The application or applications shall be noticed to be heard at the

Final Fairness Hearing. Settling Defendants will not oppose such a request so long as it does not

exceed that amount.

       10.8    Settlement Not Conditioned on Attorneys’ Fees Approval. The application or

applications for Attorneys’ Fees, and any and all matters related thereto, shall not be considered

part of the Settlement Agreement, and shall be considered by the Court separately from the Court’s

consideration of the fairness, reasonableness, and adequacy of the Settlement. Plaintiffs and Class

Counsel agree that this Settlement Agreement is not conditional on the Court’s approval of

Attorneys’ Fees in the requested amount or in any amount whatsoever. The Court’s ruling on the

application or applications for such fees shall not operate to terminate or cancel the Settlement.




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       10.9    All Attorneys’ Fees Come Out of Settlement Fund. Settling Defendants shall have

no responsibility for, nor any liability with respect to, the payment of Attorneys’ Fees to Class

Counsel. The sole source of any payment of Attorneys’ Fees shall be the Settlement Fund.

       10.10 Payment of Attorneys’ Fees. Attorneys’ Fees in the amount approved by the Court

will be paid through distribution from the Settlement Fund by the Settlement Administrator from

the third and final $2,900,000 payment made by the Settling Defendants and may be paid ten (10)

days after receipt of the final payment in the Settlement Fund under Section 10.1.

       10.11 Service Awards to the Named Plaintiff. On or before fourteen (14) days before the

Final Fairness Hearing, Class Counsel shall file an application to the Court for a Service Award,

not to exceed five-thousand dollars ($5,000.00), depending upon each Plaintiff’s degree of

contribution and service, to be paid to each of the Named Plaintiffs serving as class representatives

in support of the Settlement out of the Settlement Fund. Settling Defendants will not oppose such

a request. To the extent the Court approves a Service Award in an amount less than $5,000.00 to

a Named Plaintiff, the difference will remain in the Settlement Fund. Any Service Award payment

shall be funded through the Settlement Fund.

       10.12 Settlement Class Member Payments. All Settlement Class Members who submit

Valid Claims are entitled to payment pursuant to the processes for submitting Claim Forms and

determining Valid Claims as set forth in Section VIII. The amount of each check to be issued is

subject to deduction for Attorneys’ Fees and costs approved by the Court and costs of

administration by the Settlement Administrator. To calculate the amount of each payment, the

Settlement Administrator shall divide the amount left in the Settlement Fund after all other

payments and costs required by this Settlement Agreement have been deducted.




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         10.13 Settlement Checks. All settlement checks shall be issued thirty (30) days after

receipt of the second deposit into the Settlement Fund under Section 10.1. All settlement checks

shall state: “This payment is tendered to you as a class member in Renee Galloway, et al. v. James

Williams, Jr., et al., Case No. 3:19-cv-00470-REP (E.D. Va.) in consideration for your release of

the Released Parties as set forth in the Class Action Settlement Agreement and Release.”

         10.14 Use and Disbursement of Settlement Fund. The Settlement Fund shall be used only

in the manner and for the purposes provided for in this Settlement Agreement. No portion of the

Settlement Fund shall be disbursed except as expressly provided for herein.

         10.15 Disbursement of Funds for Notice and Administrative Expenses. Upon Preliminary

Approval, the Settlement Administrator shall disburse funds for the costs of notice and related

administrative expenses incurred with respect to effectuating the Notice Plan approved by the

Court.

         10.16 Deduction of Reasonable and Necessary Expenses. The Settlement Administrator

shall distribute payments from the Settlement Fund pursuant to the processes set forth in this

Section X. The Settlement Administrator may deduct from the Settlement Fund any and all

reasonable and necessary expenses for the administration of such payments (e.g., costs associated

with generating and mailing checks), as well as all reasonable expenses for the determinations as

to Valid Claims.

         10.17 General Distribution Plan. The Settlement Administrator shall send payments via

U.S. mail or by commercially reasonable electronic means out of the Settlement Fund to the

Settlement Class Members who submit Valid Claims. Each such Settlement Class Member will

receive only one payment, regardless of the number of counts in any of the operative complaints

in the Actions that may have applied to that Settlement Class Member. The Payment Notices




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accompanying the payment check shall notify the recipients that the checks must be cashed within

sixty (60) days from the date on the Payment Notice and that the enclosed check shall not be valid

after that date.

        10.18 Distribution after Sixty (60) Days. Sixty (60) days after the date on the Payment

Notice, if the check has not been deposited or cashed, the amount of the check shall remain in the

Settlement Fund.

        10.19 Residual Amounts in Settlement Fund. Any residual amounts in the Settlement

Fund (including after payments to Settlement Class Members, Attorneys’ Fees, Service Awards,

and amounts necessary to effectuate the Notice Plan and for administration of the Settlement) shall

be paid to The PEW Charitable Trusts.

        10.20 Capped Fund. All of the following must be paid from the $8,700,000 and Eventide

Interests, if any, paid into the Settlement Fund by Settling Defendants: (i) notice and

administration/consulting costs; (ii) payments to the Settlement Class Members who submit Valid

Claims; (iii) payments of Service Awards to the Named Plaintiffs; (iv) and payments to Class

Counsel for Attorneys’ Fees. The Parties and their respective counsel agree that under no

circumstances will Settling Defendants and/or Released Parties pay or cause to be paid more than

their respective contributions aggregating to the sum of $8,700,000, plus the assigned Eventide

Interests, if any, pursuant to this Settlement.

        10.21 No Vested Interest. The Parties Agree, and the Court shall order, that no Settlement

Class Member has a vested interest in any amount to be paid to him or her under the Settlement

Agreement unless and until he or she has cashed a settlement check under the parameters and

timeframe set forth herein.

XI.     SETTLEMENT CLASS INJUNCTIVE RELIEF




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        11.1    Subject to the terms and conditions of this Settlement Agreement, the Parties have

agreed that Plaintiffs will move for an uncontested motion for the Court to enter an injunction

attached as Exhibit B to this Settlement Agreement that will consist of the following issues only.

        11.2    Cap on Collections. With respect to Settlement Class Members residing within the

United States or its territories who executed loan agreements with Big Picture and/or Red Rock

(including loans assigned to Big Picture or Red Rock) from June 22, 2013, to the date of the

Preliminary Approval Order and have not fully paid off his or her loan under the agreed terms, but

not including Charged-Off Loans (defined below), the Big Picture Defendants agree to collect no

more than 2.5 times the original principal amount of the loan in payments over the life of the loan

(e.g., if the original principal amount of the loan was $500.00 then the Big Picture Defendants

agree to cap collection at $1,250.00, including payments credited to either interest or principal

reduction).

        11.3    Cease Collection and Cancellation of Charged-Off Loans. With respect to loan

agreements executed (i) by Settlement Class Members residing within the United States or its

territories, (ii) with Big Picture and/or Red Rock (including loans assigned to Big Picture) and (iii)

from June 22, 2013 to the date of the Preliminary Approval Order, Big Picture will charge off such

loans after being at least 210 days in default (“Charged-Off Loans”). The Big Picture Defendants

agree to cease any collection activities and cancel all such loans as a contested liability to the extent

not already done for Charged-Off Loans. The Big Picture Defendants will not assign, sell, or

transfer any interest in Charged-Off Loans and/or future loan proceeds from Charged-Off Loans.

Any consumers with Charged-Off Loans on the Effective Date will be notified of the elimination

of their defaulted loan balances through a letter, approved by all Parties and sent by the Settlement

Administrator. Such letter will be sent by email if such address is reasonably verifiable and shall




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not imply or express any admission of wrongdoing by any of the Released Parties. Any payments

made on Charged-Off Loans to the Big Picture Defendants after the date of the Preliminary

Approval Order will either be (i) rejected by Big Picture Defendants or (ii) held in escrow by the

Big Picture Defendants and within thirty (30) days of the Effective Date shall be returned to the

respective consumer or paid to the Settlement Administrator to be returned to the respective

Settlement Class Member.

XII.   RELEASE OF CLAIMS

       12.1    Release for Valid Claims. Upon the Effective Date, the Named Plaintiffs, for

themselves and as representatives of the Settlement Class, each Settlement Class Member who

submits a Valid Claim, and/or their respective spouses, heirs, executors, administrators,

representatives, agents, attorneys, partners, successors, predecessors and assigns and all those

acting or purporting to act on their behalf acknowledge full satisfaction of, and shall be

conclusively deemed to have fully, finally and forever settled, released and discharged the

Released Parties of and from the Released Claims. Nothing in this Settlement Agreement,

however, shall be deemed a release of the Parties’ respective rights and obligations under this

Settlement Agreement. Also, nothing in this Settlement Agreement shall be deemed a release of

Plaintiffs’ and Settlement Class Members’ respective Claims against the Non-Settling Defendants.

       12.2    Scope of Release for Settlement Class Members Who Submit Valid Claims. In

exchange for the relief described in this Settlement Agreement and the injunctive relief set forth

in Section XI, the Settlement Class Members who submit Valid Claims and/or anyone acting or

purporting to act on their behalf agree to release the Released Parties from any and all Released

Claims. It is the intent of the Parties that this release covers every possible Claim that could have

been brought in the Actions against the Released Parties, regardless of any other requirement




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imposed by federal or state law, including all damages claims and claims for any and other

remedies.

       12.3    Released Claims. “Released Claims” means any and all claims, causes of action,

suits, obligations, debts, demands, agreements, promises, liabilities, damages, losses,

controversies, costs, expenses and attorneys’ fees of any nature whatsoever, whether based on any

federal law, state law, common law, territorial law, foreign law, tribal law, contract, rule,

regulation, any regulatory promulgation (including, but not limited to, any opinion or declaratory

ruling), common law or equity, whether known or unknown, suspected or unsuspected, asserted

or unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive or

compensatory, as of the date of the Final Fairness Approval Order and Judgment, that relate to

and/or arise out of loans made by and/or in the name of Big Picture, Castle Payday Loans, and/or

Red Rock. Notwithstanding the Release defined and stated herein, this Settlement Agreement shall

not release any claim alleged against any party in Williams, et al, v. Microbilt Corporation, et al,

Civ. No. 3:19cv85 (E.D. Va.).

       12.4    Scope of Release for Settlement Class Members Who Do Not Receive a Payment

(“Non-Payment Released Claims”). All Settlement Class Members who do not receive a payment

from the Settlement Fund will waive their rights to bring a class action, collective action, and/or

mass action (but not an individual action) against any and all of the Released Parties related to not

only claims asserted in the Actions, but also claims that could have been asserted in the Actions.

       12.5    General Release to Fullest Extent Possible. The Parties agree that the release is

limited to those Released Claims encompassed by the provisions of Section 12.3. Notwithstanding

that understanding, Plaintiffs, for themselves and for each Settlement Class Member, acknowledge

that they are aware that they may hereafter discover facts in addition to or different from those that




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they or Class Counsel now knows or believes to be true with respect to the subject matter of these

releases, but it is their intention to, and they do hereby, upon the Effective Date of this Settlement

Agreement, fully, finally and forever settle and release any and all Released Claims and Non-

Payment Released Claims, without regard to the subsequent discovery or existence of such

different or additional facts. Plaintiffs, for themselves and for each Settlement Class Member,

further waives any and all rights and benefits afforded by California Civil Code Section 1542,

which provides as follows: “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS

THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO

EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND

THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR

HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.” Plaintiffs and Class

Counsel understand and acknowledge the significance of this waiver and/or of any other applicable

federal or state law relating to limitations on releases.

       12.6    Binding Nature of Settlement. Subject to the requirements of due process, this

Settlement Agreement shall bind all Settlement Class Members and all of the Released Claims

shall be dismissed with prejudice and released as against the Released Parties, even if the

Settlement Class Member claims or can later show that he or she did not receive actual notice of

the Settlement prior to the hearing on final approval of the Settlement.

       12.7    This Release as set forth in this Section may be raised as a complete defense and

bar to any action or demand brought in contravention of this Settlement Agreement.

       12.8    Upon entry of the Final Fairness Approval Order and Judgment, the Parties shall

take all actions necessary to cause entry of Final Judgment, including the severance of Claims




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against the Non-Settling Defendants, and the Parties agree to dismiss the Actions and any related

appeals with prejudice as to Settling Defendants.

       12.9    It is expressly understood and acknowledged by the Parties that the provisions of

this release and covenant not to sue as set forth in this Section together constitute essential and

material terms of the Settlement Agreement to be included in the Final Approval Order.

XIII. TERMINATION AND SUSPENSION

       13.1    Settling Defendants’ Rights to Terminate Agreement.             Settling Defendants’

willingness to settle the Actions on a class-action basis and to agree to the certification of

conditional Settlement Class is dependent upon achieving finality in the Actions, and the desire to

avoid the expense of these and other Actions. Consequently, Settling Defendants shall have the

unilateral right in their sole discretion to individually terminate this Settlement Agreement, declare

it null and void, and have no further obligations under this Settlement Agreement to the Plaintiffs,

Settlement Class Members, or Class Counsel if any of the following conditions subsequently

occurs: (1) the Court fails or declines to grant Preliminary Approval pursuant to the terms of the

Preliminary Approval Order; (2) the Court modifies the terms of the Settlement Agreement; or (3)

the Effective Date does not occur for any reason, including the entry of an order by any court that

would require either material modification or termination of the Settlement Agreement or the Final

Approval Order.

       13.2    Plaintiffs’ Rights to Terminate Agreement. Plaintiffs shall have the unilateral right

in their sole discretion to individually terminate this Settlement Agreement, declare it null and

void, and have no further obligations under this Settlement Agreement to the Settling Defendants

if any of the following conditions subsequently occurs: (1) the Court fails or declines to grant

Preliminary Approval pursuant to the terms of the Preliminary Approval Order; (2) the Court

modifies the terms of the Settlement Agreement; or (3) the Effective Date does not occur for any


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reason, including the entry of an order by any court that would require either material modification

or termination of the Settlement Agreement or the Final Approval Order.

       13.3    Disapproval of Fee Request. Notwithstanding anything else contained herein, the

failure of any Court to approve the Attorneys’ Fees or Service Awards in the requested amounts,

or any amounts whatsoever, shall not be grounds for the Named Plaintiffs or Class Counsel to

terminate this Settlement Agreement.

       13.4    Effect of Termination on This or Future Actions. If this Settlement Agreement is

rejected by the Court or terminated for any reason: (1) the class-certification portions of the

Settlement Agreement shall have no further force and effect and shall not be offered in evidence

or used in the Actions or in any other proceeding; (2) counsel for the Parties shall seek to have any

Court orders, filings, or other entries in the Court’s file that result from this Settlement Agreement

set aside, withdrawn, and stricken from the record; (3) the Settlement Agreement and all

negotiations, proceedings, and documents prepared, and statements made in connection with either

of them, shall be without prejudice to any Party and shall not be deemed or construed to be an

admission or confession by any Party of any fact, matter, liability, or proposition of law; and (4)

the Parties shall stand in the same procedural position as if the Settlement Agreement had not been

negotiated, made, or filed with the Court, and no doctrine of waiver, estoppel, or preclusion will

be asserted in any litigated certification proceedings in the Actions against any Party, including

without limitation, the amended complaint filed in Galloway III and any consolidation of the

Actions pursuant to Section 5.1 shall be null and void as it was filed only to effectuate this

Settlement.

XIV. PUBLIC STATEMENTS

       14.1    Public Statements. Settling Defendants and Plaintiffs shall not issue any press

releases or make any affirmative statements to any media regarding this Settlement. Class Counsel


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shall not use the name of or identity of any Settling Defendant, other than the Big Picture

Defendants, on any of Class Counsel’s websites or promotional materials.

XV.    MISCELLANEOUS PROVISIONS

       15.1    No Invocation of Sovereign Immunity as a Defense to the Final Settlement

Agreement: The Tribe, the Individual Tribal Defendants, the Big Picture Defendants, Dowd,

Liang, and McFadden will not invoke sovereign immunity as a defense to the enforcement of the

Settlement Agreement. None of the Individual Tribal Defendants, the Big Picture Defendants,

Dowd, Liang, or McFadden consent to a waiver of their sovereign immunity from suit except for

the limited purposes of the enforcement of this Settlement Agreement and as follows: (a) any

dispute shall be brought by and limited to Plaintiffs, Settlement Class Members and no other party

or entity; (b) the dispute shall be limited to those arising under this Settlement Agreement and the

enforcement of any agreement, order, judgment or ruling resulting therefrom; and (c) the dispute

shall be brought in the United States District Court for the Eastern District of Virginia. Nothing

contained herein shall be construed as a waiver of the sovereign immunity of the Tribe, the

Individual Tribal Defendants, the Big Picture Defendants, Dowd, Liang, and/or McFadden in any

other context, proceeding or litigation. Except as expressly set forth herein, nothing contained in

this Settlement Agreement shall be construed as a waiver of any rights or privileges belonging to

the Tribe, the Individual Tribal Defendants, the Tribal Officials, the Big Picture Defendants,

Dowd, Liang, and McFadden, and each of their current, past and future affiliates, subsidiaries,

parents, insurers, and all of the respective directors, officers, Tribal Council members, general and

limited partners, shareholders, managers, representatives, employees, members, agents, attorneys,

accountants successors, assigns, and representatives, including sovereign immunity from judicial

process, all of which are otherwise reserved.




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       15.2    Choice of Law. This Agreement and the rights of the parties under this Settlement

Agreement shall be governed by and construed in accordance with the laws of the Commonwealth

of Virginia including all matters of construction, validity, performance, and enforcement and

without giving effect to the principles of conflict of laws. By agreeing to this, none of the

Defendants is agreeing to the application of Virginia law in any other context. Neither this

Settlement Agreement nor any document referred to herein, nor any action taken to carry out this

Settlement Agreement and/or the Settlement, or Defendants’ willingness to enter into this

Settlement Agreement, nor any or all negotiations, communications, and discussions associated

with the Settlement are, or may be construed as, or may be used in any proceeding as, an admission

by or against the Big Picture Defendants, the Tribe, the Individual Tribal Defendants, the Tribal

Officials, Dowd, McFadden, and/or Liang of any waiver of sovereign immunity.

       15.3    Discovery to Settling Defendants. In addition to the stay sought in Section 5.3 and

the dismissals pursuant to Section 5.1, as to Settling Defendants named in the Actions, all

discovery as to the Settling Defendants is stayed while the Settlement Agreement goes through the

approval process. If the Settlement is not finally approved by the Court for any reason, the stay

shall be terminated, and any discovery implicated by this Section 15.3 shall not be deemed due for

response until at least forty-five (45) days from such termination.

       15.4    Use of Discovery Materials in Related Actions. Settling Defendants agree that

documents produced, and depositions provided in Williams or Galloway I shall be produced in

Galloway II or any other related case subject to the protective order entered or to be entered in

Galloway II.

       15.5    Destruction and Non-Use of Discovery Materials. Class Counsel agrees to destroy

all materials produced by the Settling Defendants, Released Parties, and all third parties upon entry




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of the Final Approval Order or upon resolution of the Actions, or any related actions brought

against a party that is not a Released Party, whichever is later; subject to good faith discussion

between counsel of the Parties as necessary. Class Counsel agree to be bound by the requirements

of the protective orders entered in the Actions, even following their disposal of the materials. Any

disputes will be arbitrated by the Honorable David J. Novak.

       15.6    Bellicose Capital, LLC (“Bellicose”) Privilege. The Big Picture Defendants agree

to withdraw their assertion of attorney-client privilege for communications that occurred at

Bellicose or Sourcepoint VI, LLC prior to the acquisition on January 26, 2016. The Big Picture

Defendants will produce such communications if they are within the Big Picture Defendants’

possession unless another Party or entity, other than a Released Party, has timely served a separate

privilege objection that has not been overruled by the respective court. The Big Picture Defendants

agree to withdraw their objections to discovery for such communications, including but not limited

to third-party subpoenas to Jennifer Galloway and Conner & Winters, LLP.

       15.7    Admissibility of Settlement Agreement. This Settlement Agreement shall not be

offered or be admissible in evidence in any action or proceeding except: (1) the hearings necessary

to obtain and implement Court approval of this Settlement; or (2) any hearing to enforce the terms

of this Settlement Agreement or any related order by the Court.

       15.8    Successors and Assigns. The terms of this Settlement Agreement shall apply to

and bind the Parties as well as their heirs, successors, and assigns.

       15.9    Communications Relating to Settlement Agreement. Unless specified otherwise

herein, all notices or other formal communications under this Settlement Agreement and/or the

Settlement shall be in writing and sent by electronic mail, fax or hand delivery, or overnight mail

postage prepaid to:




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       If to Class Counsel:

              Leonard A. Bennett
              CONSUMER LITIGATION ASSOCIATES, P.C.
              763 J. Clyde Morris Blvd., Ste. 1-A
              Newport News, VA 23601
              Telephone: (757) 930-3660
              Facsimile: (757) 930-3662
              Email: lenbennett@clalegal.com

       If to counsel for the Big Picture Defendants, the Tribe, the Individual Tribal Defendants,
       Liang and McFadden:

              Robert A. Rosette
              Justin A. Gray
              Rosette, LLP
              44 Grandville Avenue SW
              Suite 300
              Grand Rapids, Michigan 49503
              Telephone: (616) 655-1601
              Facsimile: (517) 916-6443
              Email: rosette@rosettelaw.com
              Email: jgray@rosettelaw.com

       If to counsel for the Columbia Defendants:

              Thomas Lester
              Devin Noble
              HINSHAW & CULBERTSON LLP
              100 Park Avenue
              PO Box 1389
              Rockford, IL 61105
              Telephone: 815-490-4946
              Facsimile: 815-490-4901
              Email: tlester@hinshawlaw.com
              Email: dnoble@hinshawlaw.com

       If to counsel for Defendant James Dowd:

              Michael Stinson
              Vernle C. Durocher, Jr.
              DORSEY & WHITNEY LLP
              50 S Sixth St., Suite 1500
              Minneapolis, MN 55402
              Telephone: 612-492-6624
              Facsimile: 612-340-2868
              Email: stinson.mike@dorsey.com


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               Email: Durocher.skip@dorsey.com

       If to counsel for Defendants Amlaur Resources and Brian Jebwab:

               Rebecca Ruby Anzidei
               Amadou Kilkenny Diaw
               Martin Cunniff
               RUYAK CHERIAN LLP
               1700 K Street NW
               Suite 810
               Washington, DC 20006
               Telephone: (202) 897-1914
               Facsimile: (202) 478-1715
               Email: rebeccaa@ruyakcherian.com
               Email: amadoukd@ruyakcherian.com
               Email: martinc@ruyakcherian.com

               Sean J. Bellew
               Bellew LLC
               2961 Centerville Road
               Suite 302
               Wilmington, DE 19808
               Telephone: (302) 353-4951
               Email: sjbellew@bellewllc.com

The notice recipients and addresses designated above may be changed by written notice. Upon

the request of any of the Parties, the Parties agree to promptly provide each other with copies of

objections received in relation to this Settlement Agreement.

       Any Party may, by written notice to all the other Parties, change its designated recipient(s)

or notice address provided above.

       15.10 If any Party to this Agreement believes that another Party is in default of its

obligations under this Agreement, the Party believe there is a default must advise all Parties in

writing (“Notice of Default”), as listed in Section 15.9, prior to filing suit or seeking other relief

to enforce the terms of this Agreement. Upon receipt of the Notice of Default, the defaulting Party

shall have thirty (30) days to cure the default. If the default is not cured at the end of the 30-day




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period, the non-defaulting Party may file suit or seek other relief to enforce the terms of this

Agreement.

        15.11 Non-Solicitation/Representation. Class Counsel represents and warrants that they

will not solicit or suggest, directly or indirectly, personally or through other actions, other lawyers,

law firms, nonprofit entities, or governmental or regulatory authorities the filing of new actions

against Settling Defendants or any of the Released Parties relating to the offering, transacting,

servicing, selling, or collection of the Big Picture Defendants’ or Red Rock’s loans consummated

prior to the date of Preliminary Approval to any consumer located in the United States.

        15.12 Destruction and Non-Use of Discovery Materials: Class Counsel agree to destroy

all materials produced by Settling Defendants, any Released Party, and/or any third parties and

designated upon that production as confidential upon entry of the Final Order or upon final

resolution of the Actions, or any related actions brought against a party that is not a Released Party,

whichever is later; subject to good faith discussion between counsel for the Parties as necessary.

Class Counsel agree to be bound by the requirements of the protective orders entered in the

Actions, even following their disposal of the materials. Any disputes will be arbitrated by the

Honorable David J. Novak.

        15.13 Big Picture Defendants’ Communications with Consumers in the Ordinary Course

of Business. Big Picture Defendants reserve the right to continue communicating with its

customers and Consumers, including Settlement Class Members, in the ordinary course of

business. Big Picture Defendants shall not advise consumers of anything contrary to the terms of

this Settlement.

        15.14 Efforts to Support Settlement. The Parties and their counsel agree to cooperate

fully in seeking Court approval for this Settlement Agreement and to use their best efforts to effect




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the consummation of the Settlement and to protect the Settlement Agreement by applying for

appropriate orders enjoining others from initiating or prosecuting any action arising out of or

related to facts or claims alleged in the Actions, if so required.

       15.15 Competency of the Parties. The Parties, and each of them, acknowledge, warrant,

represent, and agree that in executing and delivering this Settlement Agreement, they do so freely,

knowingly, and voluntarily, that they had an opportunity to and did discuss its terms and their

implications with legal counsel of their choice, that they are fully aware of the contents and effect

of this Settlement, and that such execution and delivery is not the result of any fraud, duress,

mistake, or undue influence whatsoever.

       15.16 Procedures for Disputes Between Parties Relating to the Settlement Agreement.

Unless specifically indicated as a dispute to be brought to the Honorable David J. Novak in the

first instance, the Parties agree to submit any dispute arising under this Settlement Agreement first

to mediation with Nancy F. Lesser of PAX ADR Dispute Resolution & Mediation Services, a

private mediator previously used by the Parties on three occasions for the Actions, and, if deemed

necessary and agreed by the Parties, the Honorable David J. Novak, before filing any motion or

action with the Court, allowing a reasonable time for the mediation of the dispute.

       15.17 Entire and Voluntary Agreement. The Parties intend the Settlement Agreement to

be a final and complete resolution of the Actions. The Parties agree that the terms of the Settlement

Agreement were negotiated at arm’s length and in good faith and were reached voluntarily after

consultation with competent legal counsel. There shall there be no presumption for or against any

Party that drafted all or any portion of this Settlement Agreement. This Settlement Agreement

contains the entire agreement and understanding concerning the subject matter between the Parties

and supersedes all prior negotiations and proposals, whether written or oral. No other party or any




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agent or attorney of any other party has made any promise, representation or warranty whatsoever

not contained in this Settlement Agreement and the other documents referred to in this Settlement

Agreement to induce them to execute the same. The Parties represent that they have not executed

this instrument or the other documents in reliance on any promise, representation, or warranty not

contained in this Settlement Agreement and the other documents referred to in this Settlement

Agreement. Any modification must be in writing signed by the Parties and their respective counsel

and, to the extent necessary, approved by the Court.

       15.18 Headings for Convenience Only. The headings in this Settlement Agreement are

for the convenience of the reader only and shall not affect the meaning or interpretation of this

Settlement Agreement.

       15.19 Settlement Agreement Controls. All of the Exhibits attached hereto are hereby

incorporated by reference as though fully set forth herein. To the extent that there is any conflict

between the terms of this Settlement Agreement and the Exhibits attached hereto, this Settlement

Agreement shall control.

       15.20 Time Periods. The time periods and dates described herein are subject to Court

approval and may be modified upon order of the Court or written stipulation of the Parties.

       15.21 Amendments. The Settlement Agreement may be amended or modified only by a

written instrument signed by Class Counsel and Settling Defendants’ Counsel, or their respective

successors-in-interest.

       15.22 Receipt of Advice of Counsel. Each Party acknowledges, agrees, and specifically

warrants that he, she, or it has fully read this Settlement Agreement, received independent legal

advice with respect to the advisability of entering into this Settlement Agreement and fully




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understands the effect of this Settlement Agreement, the Released Parties, and the Released

Claims.

        15.23 Authorization of Counsel. Class Counsel, on behalf of the Settlement Class, are

expressly authorized by Plaintiffs to take all appropriate action required or permitted to be taken

by the Settlement Class pursuant to the Settlement Agreement to effectuate its terms, and also are

expressly authorized to enter into any modifications or amendments to the Settlement Agreement

on behalf of the Settlement Class that they deem necessary or appropriate. Each attorney executing

the Settlement Agreement on behalf of any Party hereto hereby warrants that such attorney has the

full authority to do so.

        15.24 Confidentiality. All agreements made and Orders entered during the course of the

Actions relating to the confidentiality of information shall survive this Settlement Agreement.

        15.25 Court’s Jurisdiction.      The Court shall retain jurisdiction with respect to

implementation and enforcement of the terms of the Settlement Agreement and all orders entered

in connection therewith. The Parties and their attorneys submit to the jurisdiction of the Court

regarding these matters.

        15.26 Construction. Each of the Parties has cooperated in the mutual drafting and

preparation of this Settlement Agreement.       Hence, in any construction to be made of this

Settlement Agreement, the same shall not be construed against any of the Parties. Before declaring

any provision of this Settlement Agreement invalid, a court should first attempt to construe the

provision as valid to the fullest extent possible consistent with applicable precedent so as to find

all provisions of this Settlement Agreement valid and enforceable.

        15.27 No Claims Arising from this Settlement Agreement. No person shall have any

claim against any Settling Defendants, Released Party, Settling Defendants’ Counsel, Named




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Plaintiff or Class Counsel based on distribution of benefits made substantially in accordance with

this Settlement Agreement or any Settlement Agreement-related order(s) of the Court.

       15.28 Waiver. The waiver by one party of any provision or breach of this Settlement

Agreement shall not be deemed a waiver of any other provision or breach of this Agreement.

       15.29 Counterparts and Date of Agreement. This Settlement Agreement may be executed

in one or more counterparts and by facsimile. All executed counterparts and each of them shall be

deemed to be one and the same instrument. Counsel for the Parties shall exchange among

themselves signed counterparts, and a complete set of executed counterparts shall be filed with the

Court. The Settlement Agreement shall become effective upon its execution by all of the

undersigned.




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        IN WITNESS THEREOF, the Parties hereto have caused this Settlement Agreement to be

executed by their duly authorized representatives.

                                             LULA WILLIAMS; GLORIA TURNAGE;
                                             GEORGE HENGLE; DOWIN COFFY;
                                             MARCELLA SINGH; RENEE GALLOWAY;
                                             DIANNE TURNER; EARL BROWNE; ROSE
                                             MARIE BUCHERT; REGINA NOLTE; KEVIN
                                             MINOR; TERESA TITUS; LISA MARTINEZ;
                                             ANTHONY GREEN; SONJI GRANDY;
                                             ANASTASIA SHERMAN; BURRY POUGH;
                                             LINDA MADISON; DOMINQUE DE LA BAY;
                                             LUCINDA GRAY; ANDREA
                                             SCARBOROUGH; JERRY AVENT; LORI
                                             FITZGERALD; DEREK GETER; KEISHA
                                             HAMM; FAITH THOMAS; SHARON PAAVO;
                                             LATANYA TARLETON


Date:
                                             Consumer Litigation Associates, P.C.
                                             Kelly Guzzo PLC
                                             Terrell Marshall Law Group PLLC
                                             Berger & Montague PC
                                             Virginia Poverty Law Center
                                             Gupta Wessler PLLC




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                                      CHRISTINA CUMMING; LAMESHA
                                      KONDO; ANDREA MENDEZ; TAMMY
                                      WANGELINE; FREEMAN REVELS;
                                      KIMBERLY POOL; TASHA PETTIFORD


Date:
                                      Tycko & Zavareei LLP




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                                      RICHARD L. SMITH, JR.; VICTORIA R.
                                      MCKOY; DESIREE W. LOVINS; SANDRA
                                      MONSALVE; CARRIE S. SMITH; CHRIS
                                      KOBIN; DANA DUGGAN


Date:
                                      Caddell & Chapman




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                                      BIG PICTURE LOANS, LLC; ASCENSION
                                      TECHNOLOGIES, LLC; JAMES WILLIAMS,
                                      JR.; MICHELLE HAZEN; GERTRUDE
                                      MCGESHICK; SUSAN MCGESHICK;
                                      GIIWEGIIZHIGOOKWAY MARTIN; JAMES
                                      DOWD; SIMON LIANG; BRIAN MCFADDEN;
                                      KARRIE WICHTMAN; HENRY SMITH;
                                      ALICE BRUNK; ANDREA RUSSELL; TINA
                                      CARON; MITCHELL MCGESHICK;
                                      JEFFERY MCGESHICK; ROBERTA IVEY;
                                      JUNE SAAD


Date:
                                      Rosette, LLP




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                                      COLUMBIA PIPE & SUPPLY CO.; TIMOTHY
                                      ARENBERG; TERRANCE ARENBERG; DTA
                                      TRINITY WEALTH TRANSFER TRUST;
                                      DEBORAH M. ARENBERG LIVING TRUST


Date:
                                      Hinshaw and Culbertson LLP




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                                      JAMES DOWD



Date:
                                      Dorsey & Whitney LLP




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                                      AMLAUR RESOURCES, LLC; BRIAN
                                      JEBWAB



Date:
                                      Ruyak Cherian LLP




Date:
                                      Bellew LLC




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Return City, ST 12345-6789




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        123 Any Street
        Any Town, ST 12345-6789
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                             EXHIBIT A

                       CLASS NOTICE
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                    If You Obtained a Big Picture or Castle Payday Loan
                          You Could Get Loan Forgiveness and/or
                            a Cash Payment from a Settlement.
                        A federal court ordered this notice. This is not a solicitation from a lawyer.

    •   Read this Notice. It states your rights and provides you with information regarding a proposed nationwide class action
        settlement (“Settlement”) in lawsuits brought against a number of companies and persons alleged to be involved with the
        making of online loans in the name of Big Picture Loans and Red Rock Tribal Lending d/b/a/ Castle Payday Loans. All
        of these settling parties, listed below, are known here as the Settling Defendants.

    •   The lawsuit claimed that the Big Picture and Castle Payday loans violated state usury laws and the Racketeer Influenced
        and Corrupt Organizations Act. There was no finding of liability in this case, and the Settling Defendants vigorously
        denied all allegations in the lawsuits.

    •   As part of the proposed Settlement, individuals who executed Big Picture and/or Castle Payday loan agreements from
        June 22, 2013, to the date of the Preliminary Approval Order may be eligible to receive certain benefits, as detailed
        below, including cash refunds.

    •   This Notice is a summary of information about the Settlement and explains your legal rights and options because you
        may be a member of the class of borrowers who would be affected if the Settlement is finally approved by the Court.
        The complete terms of the proposed Settlement are available at the Settlement website, WEBSITE (“Settlement
        Website”). You may also obtain further information about the Settlement at the following telephone number: NUMBER.

                           YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

                                         You will remain a member of the Settlement Class. You may receive certain benefits
                                         without doing anything, including a reduction in the amount of interest you can be
          DO NOTHING                     charged on your loan.

                                         However, if you do nothing, you will not receive a cash payment. You can still bring
                                         any claim you may have against a Defendant, but only on an individual basis.

                                         You can make a claim for a cash amount by submitting the attached claim form
    MAKE A CLAIM FOR A                   (“Claim Form”) by mail or at [WEBSITE]. You will receive a cash payment if you
     CASH PAYMENT                        repaid your loan, and paid more than 2.5 times the original principal amount of the
                                         loan in payments over the life of the loan. You can go to www.[______].com/claim
                                         to see whether you would receive a cash payment.

        OBJECT TO THE                    If youwill
                                                do release
                                                    not exclude yourself, youyou
                                                                              maymay
                                                                                  write to the Courts
                                         You               any other claims          have  against  theabout  whyDefendants
                                                                                                        Settling  you don’t like
                                                                                                                            and
         SETTLEMENT                      the Settlement  or why  the Courts should not approve  it.
                                         cannot sue them again.




1. WHY IS THERE A NOTICE?

This Notice relates to a proposed nationwide Settlement that will be considered by a United States District Court in Richmond,
Virginia (the “Court”). Before the Settlement becomes effective, it must be finally approved by the Court. The claims of the
Settlement Class Members (as defined below) are being settled in the Court in the following class action matter: Renee Galloway,
et al. v. James Williams, Jr., et al., Case No. 3:19-cv-00470-REP (E.D. Va.) (the “Lawsuit”).


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The Settlement also resolves other cases in Virginia, California, Oregon, Georgia and Massachusetts.

You have been identified as a Settlement Class Member. The Court authorized this Notice because you have a right to know
about a proposed Settlement of the lawsuit and about all of your options before the Court decides whether to give “final approval”
to the Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.

2. WHAT ARE THESE LAWSUITS ABOUT?

The claims involved in the Settlement arise out of loans made in the name of two companies that are owned by a Native American
Indian Tribe: Big Picture Loans and Red Rock Tribal Lending d/b/a/ Castle Payday Loans (“Tribal Companies”). There were
others that are alleged to have invested or assisted in the operations of these businesses. Several of these companies and
individuals are also included in the Settlement (collectively known as the “Settling Defendants”). Each of the Settling Defendants
is listed below in Section 7.

The plaintiffs in these cases claim that the Settling Defendants violated federal and various state laws by: (a) making and collecting
loans with annual interest rates in excess of the amount allowed by state law, (b) lending to consumers when these entities were
required to have a license from a state to lend to consumers, and they did not have that license, (c) servicing or collection activities,
or (d) their involvement in and support of other parties’ conduct.

The plaintiffs in the lawsuit claim that the Tribal Companies’ loans violated state usury laws that govern the amount of interest
lenders can charge and federal laws the prevent the collection of illegal debts.

The Settling Defendants do not agree that state law is applicable to the loans made by the Tribal Companies. They have vigorously
denied all claims and allegations of wrongdoing. The Tribal Companies have maintained at all times that they are arms of the
Tribe and share in the Tribe’s sovereign immunity. Notwithstanding the denials of liability and alleged unlawful conduct, the
Settling Defendants have decided it is in their best interest to settle the Lawsuit to avoid the burden, expense, risk, and uncertainty
of continuing in litigation.

Important case documents, including the Settlement Agreement, may be accessed at the Settlement Website,
www.WEBSITE.com.

3. WHY IS THIS A CLASS ACTION?

In a class action or proceeding, one or more people, called class representatives, bring an action on behalf of people who have
similar claims. All of the people who have claims similar to the class representatives are a class or class members, except for
those who exclude themselves from the class. Here, the Plaintiffs have filed a claim on behalf of the Settlement Class.


4. HOW DO I KNOW IF I AM INCLUDED IN THE SETTLEMENT?

You are affected by the Settlement (and thus a “Settlement Class Member”) if you obtained a Big Picture or Castle Payday
loan(s) from June 22, 2013 to the date of the Preliminary Approval Order (the “Settlement Class”).

The Settling Defendants’ business records have identified you as a member of the Settlement Class, and you will be a Settlement
Class Member unless you exclude yourself.

5. WHAT DOES THE SETTLEMENT PROVIDE AND HOW MUCH WILL MY PAYMENT BE?

The Settling Defendants have agreed to create a fund in the amount of $8.7 million (“Settlement Fund”), and they have also agreed
to certain other forms of non-monetary relief for the Settlement Class. The Settling Defendants have agreed to provide the
following benefits and others more fully described in the Settlement Agreement:

    a) Consumer Refund. A Settlement Fund will provide payments to some Settlement Class Members who submit
       claims to the administrator of the Settlement (“Settlement Administrator”). Only borrowers who repaid the loan
       and also paid more than 2.5 times the original principal amount of the loan in payments over the life of the loan

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        will receive a refund payment. YOU MUST SUBMIT A VALID CLAIM FORM TO RECEIVE A REFUND
        PAYMENT. The amount of your check will depend on the amount of interest that you paid on your loan(s) and
        how many total valid claims are made by other Settlement Class Members. The Settlement Administrator will
        mail the check to the address you provide on the Claim Form, and so it is your obligation to update your address
        with the Settlement Administrator if you move.

    b) Reduced Interest on Pending Loans. For those Settlement Class Members whose loan(s) have not been fully
       paid off or are not more than 210 days delinquent or past due, the Settling Defendants agree to collect no more
       than 2.5 times the original principal amount of the loan in payments over the life of the loan. For example, if
       the original principal amount of the loan was $500.00, then the Settling Defendants have agreed to cap collection
       at $1,250.00 over the life of the loan, including payments credited to either interest or principal reduction.

    c) Loan Forgiveness. For those Settlement Class Members whose loan(s) are currently, or become, more than 210
       days in default (“Charged-Off Loans”), the Settling Defendants agree to cease any collection activities and cancel
       all such loans as a contested liability to the extent not already done. The Settling Defendants will not assign,
       sell, or transfer any interest in Charged-Off Loans and/or future loan proceeds from Charged-Off Loans.

6. WHAT DO I HAVE TO DO TO RECEIVE MY PAYMENT?

To receive a refund payment from the Settlement Fund, you must complete the Claim Form attached to this Notice or at
[WEBSITE]. The Claim Form requires your name, current postal address, date of birth, and the last four digits of the Settlement
Class Member’s Social Security number. The Claim Form and the Settlement Website provide complete instructions for
completion of this claims process. You may submit only one Claim Form regardless of the number of loans you had.

The Claim Form is also made available for download on the Settlement Website or by request from the Settlement Administrator.

If you are entitled to a payment, the Settlement Administrator will mail you a check upon receipt of a Valid Claim approximately
395 days after the Court grants final approval of the Settlement and any appeals are resolved.

The Settlement Administrator will mail the check to the address you provide on the Claim Form, and so it is your obligation to
update your address with the Settlement Administrator if you move. You can contact the Settlement Administrator at the telephone
number or address below if your address has changed.

TO SEE IF YOU QUALIFY FOR A CASH REFUND PAYMENT, click here or call NUMBER.


7. WHAT AM I GIVING UP IN THE SETTLEMENT?

As a member of the Settlement Class, you are providing a “Release” of certain claims against the “Released Parties” in the
Settlement, who are the Settling Defendants. If you do nothing or otherwise do not receive a cash refund payment, you do not
release any of your rights or claims, but you can only bring those on an individual basis. Under the Settlement, you lose your
right to bring these claims in a different class action.

If you do submit a claim and do receive a cash refund payment, you will release all your claims against the Settling Parties and
Released Parties. You will not be allowed to bring those claims either as an individual case or as a different class action.

The Released Parties and Settling Defendants include: the Lac Vieux Desert Band of Lake Superior Chippewa Indians (the
“Tribe”) and the current and former members of the Lac Vieux Desert Band of Lake Superior Chippewa Indians Tribal Council
and/or any employees of the Tribe or any arms of the Tribe; Big Picture Loans, LLC; Ascension Technologies, LLC; James
Williams, Jr., Michelle Hazen, Henry Smith, Alice Brunk, Andrea Russell, Tina Caron, Mitchell McGeshick, Gertrude
McGeshick, Susan McGeshick, Giiwegiizhigookway Martin, Jeffery McGeshick, Roberta Ivey, and June Saad; Columbia Pipe
& Supply Co., Timothy Arenberg, Terrance Arenberg, DTA Trinity Wealth Transfer Trust, and Deborah M. Arenberg Living
Trust; Amlaur Resources, LLC and Brian Jedwab; James Dowd; Simon Liang; Brian McFadden; Duck Creek Tribal Financial,
LLC; Tribal Economic Development Holdings, LLC; and each of their current and former directors, officers, principals, trustees,
shareholders, partners, contractors, agents, attorneys (including, Rosette Holdings, LLC, Rosette, LLP, Robert A. Rosette, and
Karrie S. Wichtman).

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Under the Settlement, the Named Plaintiffs and Settlement Class Members who submit Valid Claims will be deemed to have
released and waived all past, present, and future claims against the Released Parties relating to and/or arising out of loans made
by and/or in the name of Big Picture and/or Red Rock/Castle Payday that are the subject of the Lawsuit. Specifically, Section
12.1 of the Settlement Agreement states:

        12.1     Release for Valid Claims. Upon the Effective Date, the Named Plaintiffs, for themselves and as
        representatives of the Settlement Class, each Settlement Class Member who submits a Valid Claim, and/or their
        respective spouses, heirs, executors, administrators, representatives, agents, attorneys, partners, successors,
        predecessors and assigns and all those acting or purporting to act on their behalf acknowledge full satisfaction
        of, and shall be conclusively deemed to have fully, finally and forever settled, released and discharged the
        Released Parties of and from the Released Claims. Nothing in this Settlement Agreement, however, shall be
        deemed a release of the Parties’ respective rights and obligations under this Settlement Agreement. Also, nothing
        in this Settlement Agreement shall be deemed a release of Plaintiffs’ and Settlement Class Members’ respective
        Claims against the Non-Settling Defendants.

Settlement Class Members who do not submit a Valid Claim will be deemed to have provided a more limited release of only
class, collective, and mass actions against the Released Parties. Specifically, Section 12.4 of the Settlement Agreement states:

        12.4     Scope of Release for Settlement Class Members Who Do Not Receive a Payment (“Non-Payment
        Released Claims”). All Settlement Class Members who do not receive a payment from the Settlement Fund will
        waive their rights to bring a class action, collective action, and/or mass action (but not an individual action)
        against any and all of the Released Parties related to not only claims asserted in the Actions, but also claims that
        could have been asserted in the Actions.

The Plaintiffs have brought claims against other Non-Settling Defendants and their companies who they allege were behind the
lending operation. Specifically, claims against Matt Martorello, Justin Martorello, Rebecca Martorello, Jeremy Davis, Eventide
Credit Acquisitions, LLC, Bluetech Irrevocable Trust, Kairos Holdings, LLC, Liont, LLC, or any other entities owned, directly
or indirectly, by Matt Martorello, Justin Martorello, or Rebecca Martorello will continue to be litigated by the Plaintiffs. If a class
is certified, you may also be part of that class and will receive separate notice of this and any rights or benefits you may have due
to those lawsuits.


8. CAN I OPT OUT OF THE SETTLEMENT?

No. Settlement Class Members are not permitted to exclude themselves or otherwise “opt out” of the Settlement because of the
nature of the Settlement, which is brought under Fed. R. Civ. P. 23(b)(2). However, unless you request and receive a cash
refund payment, you do not give up your rights (if any) to bring an individual claim in your own lawsuit. That individual
lawsuit would not be part of this case, and you would need to obtain your own lawyer(s) to bring it.

9. HOW DO I TELL THE COURT THAT I OBJECT TO AND DO NOT LIKE THE SETTLEMENT?

If you are a Settlement Class Member, then you can object to the Settlement if you think the Settlement is not fair, reasonable, or
adequate, and that the Court should not approve the Settlement. You have the right to appear personally and be heard by the judge.
The Court will consider your views carefully.

To preserve your objection, you must send a letter stating your views to each of the parties listed below:

  Class Counsel Representative                               Big Picture Defendants’ Counsel Representative

  Leonard A. Bennett                                         Karrie S. Wichtman
  Consumer Litigation Associates, PC                         Lac Vieux Desert Band of Lake Superior Chippewa
  763 J Clyde Morris Blvd., Suite 1A                         Indians
  Newport News, VA 23601                                     N4698 US 45, P.O. Box 249
  Telephone: (757) 930-6330                                  Watersmeet, Michigan 49969
  Facsimile: (757) 960-3662                                  Telephone: (906) 358-4577, extension 4127
  Email: lenbennett@clalegal.com                             Email: karrie.wichtman@lvdtribal.com

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  Big Picture Defendants’ Counsel Representative          Settlement Administrator

  Robert A. Rosette                                       Settlement Administrator to be approved by the Court
  Rosette, LLP
  565 W. Chandler Boulevard
  Suite 212
  Chandler, Arizona 85225
  Telephone: (480) 889-8990
  Facsimile: (480) 899-8997
  Email: rosette@rosettelaw.com


You should include the following case name and docket number on the front of the envelope and letter you file with the Court:
“Renee Galloway, et al. v. James Williams, Jr., et al., Case No. 3:19-cv-00470-REP (E.D. Va.)”.

All objections must include the following information:

        •   Your name, address, telephone number, and the last four digits of your Social Security number;

        •   A sentence confirming that you are a Settlement Class Member;

        •   Your factual basis and legal grounds for the objection to the Settlement; and

        •   The name, firm name, phone number, email address, and mailing address of counsel representing you, if any.

Objections must be filed with the Court and served on the above parties so that they are postmarked no later than DATE.
Any lawyer who intends to appear at the Final Fairness Hearing must also enter a written Notice of Appearance of Counsel
with the Clerk of the Court no later than thirty (30) days before the Final Fairness Hearing and shall include the full style
and case number of each previous class action case in which that counsel has represented an objector.

10. WHEN AND WHERE WILL THE COURTS DECIDE WHETHER TO APPROVE THE SETTLEMENT?

The Court will hold a hearing to decide whether to approve the Settlement on DATE at TIME in the courtroom of Judge Robert
E. Payne of the United States District Court for the Eastern District of Virginia, Spottswood W. Robinson III and Robert R.
Merhige, Jr. Federal Courthouse, 701 E. Broad St., Richmond, VA 23219. At this hearing, the Court will determine whether the
Settlement is fair, reasonable, and adequate.

If there are objections, the Court will consider them at that time. The hearing may be moved to a different date or time without
additional notice. Please check WEBSITE or call PHONE NUMBER to be kept up-to-date on the date, time, and location of the
hearing.


11. DO I HAVE TO COME TO THE HEARING?


No. But you are welcome to come at your own expense. As long as you mailed your written objection on time, the Court will
consider it. You may also retain a separate lawyer to appear on your behalf at your own expense.

12. DO I HAVE A LAWYER IN THE CASE?

Yes. The Court has appointed these law firms in these cases as “Class Counsel” to represent you and all other members of the
Settlement Class: Consumer Litigation Associates, P.C., Kelly Guzzo PLC, Terrell Marshall Law Group PLLC, Berger &
Montague PC, Caddell & Chapman, Gupta Wessler PLLC and Tycko & Zavareei LLP.

These lawyers will not separately charge you for their work on the case. If you want to be represented by your own lawyer, you
may hire one at your own expense.

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13. HOW WILL THE LAWYERS BE PAID?

As part of the proposed Settlement, Class Counsel are seeking an award of up to 33% of the Settlement Fund for their attorneys’
fees and costs. The amount awarded by the Court will reduce the distributions to Settlement Class Members.

Class Counsel also will ask the Court to approve a service award of up to $5,000 to each of the 43 individual Plaintiffs in this
matter, depending upon each Plaintiff’s degree of contribution and service. The Plaintiffs were subject to extensive discovery
and made substantial contributions in the prosecution of these lawsuits for the benefit of the Class. The Court will ultimately
decide how much Class Counsel and the individual Plaintiffs will be paid.

The Settlement contains a number of detailed provisions for the allocation of the Settlement Fund, including the distribution of
leftover amounts. The details for Settlement Fund distribution are set forth in the settlement documents available at the Settlement
Website, www.WEBSITE.com.


14. HOW DO I GET MORE INFORMATION?

This Notice summarizes the proposed Settlement. You can get a copy of the Settlement Agreement and other relevant case-related
documents at the Settlement Website, www.WEBSITE.com., by calling the Settlement Administrator at PHONE NUMBER, or
by contacting Class Counsel at the addresses above or by email to email@email.com.

  PLEASE DO NOT ADDRESS ANY QUESTIONS ABOUT THE SETTLEMENT OR THE LITIGATION TO THE
  CLERK OF THE COURT, THE JUDGE, THE SETTLING DEFENDANTS OR THE SETTLING DEFENDANTS’
                                        COUNSEL.
                  THEY ARE NOT PERMITTED TO ANSWER YOUR QUESTIONS.




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                             EXHIBIT B

                  PROPOSED ORDER
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

RENEE GALLOWAY, et al.,

       Plaintiffs,

v.                                                  Civil Action No. 3:19-cv-00470-REP

JAMES WILLIAMS, JR., et al.,

       Defendants.

                                            ORDER

       WHEREAS all named Plaintiffs, by counsel, have alleged that Defendants, Big Picture

Loans, LLC (“Big Picture”) and Ascension Technologies, LLC (“Ascension”) (collectively, the

“Big Picture Defendants” and with Plaintiffs, “the Parties”), violated the Racketeer Influenced

and Corrupt Organizations Act (“RICO”) and the usury laws of various states, among other

claims, arising from loans made to consumers by Big Picture or Red Rock Tribal Lending, LLC

(“Red Rock”); and

       WHEREAS, the Big Picture Defendants, while denying that they have violated any legal

requirement, have agreed to adopt certain changes to their businesses as a condition of the class

Settlement of the above-captioned matter.

       THEREFORE, pursuant to the agreement and consent of the Parties, and upon its own

consideration and disposition, the Court hereby FINDS and ORDERS as follows:

       1.     With respect to Settlement Class Members residing within the United States or its

territories who executed loan agreements with Big Picture and/or Red Rock (including loans

assigned to Big Picture or Red Rock) from June 22, 2013, to the date of the Preliminary

Approval Order and have not fully paid off his or her loan under the agreed terms, but not
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including Charged-Off Loans (defined below), the Big Picture Defendants shall collect no more

than 2.5 times the original principal amount of the loan in payments over the life of the loan.

       2.      With respect to loan agreements executed (i) by Settlement Class Members

residing within the United States or its territories, (ii) with Big Picture and/or Red Rock

(including loans assigned to Big Picture) and (iii) from June 22, 2013 to the date of the

Preliminary Approval Order, Big Picture shall charge off such loans after being at least 210 days

in default (“Charged-Off Loans”).      The Big Picture Defendants shall cease any collection

activities and cancel all such loans as a contested liability to the extent not already done for

Charged-Off Loans. The Big Picture Defendants shall not assign, sell, or transfer any interest in

Charged-Off Loans and/or future loan proceeds from Charged-Off Loans. Any consumers with

Charged-Off Loans on the Effective Date shall be notified of the elimination of their defaulted

loan balances through a letter, approved by all Parties and sent by the Settlement Administrator.

Such letter will be sent by email if such address is reasonably verifiable and shall not imply or

express any admission of wrongdoing by any of the Released Parties. Any payments made on

Charged-Off Loans to the Big Picture Defendants after the date of the Preliminary Approval

Order shall either be (i) rejected by Big Picture Defendants or (ii) held in escrow by the Big

Picture Defendants and within thirty (30) days of the Effective Date shall be returned to the

respective consumer or paid to the Settlement Administrator to be returned to the respective

Settlement Class Member.

       3.      All capitalized terms in this Order shall have the same meaning ascribed to them

in the Class Action Settlement Agreement and Release.




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         IT IS SO ORDERED.

Dated:

                                                Senior United States District Judge




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                             EXHIBIT C

         PROPOSED PRELIMINARY
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

RENEE GALLOWAY, et al.,

               Plaintiffs,

v.                                                     Civil Action No. 3:19-cv-00470-REP

JAMES WILLIAMS, JR., et al.,

            Defendants.
______________________________________________ /

                             PRELIMINARY APPROVAL ORDER

       WHEREAS, all named Plaintiffs (listed and defined below) and certain Defendants,

namely: (1) Big Picture Loans, LLC (“Big Picture”) and Ascension Technologies, LLC

(“Ascension”) (collectively, the “Big Picture Defendants”), represented to be wholly-owned and

operated entities of the Lac Vieux Desert Band of Lake Superior Chippewa Indians (the “Tribe”),

a federally-recognized Indian tribe, (2) James Williams, Jr., Michelle Hazen, Henry Smith, Alice

Brunk, Andrea Russell, Tina Caron, Mitchell McGeshick, Gertrude McGeshick, Susan

McGeshick, Giiwegiizhigookway Martin, Jeffery McGeshick, Roberta Ivey, and June Saad

(collectively, the “Individual Tribal Defendants”), (3) Columbia Pipe & Supply Co., Timothy

Arenberg, Terrance Arenberg, DTA Trinity Wealth Transfer Trust, and Deborah M. Arenberg

Living Trust (collectively, the “Columbia Defendants”), (4) Amlaur Resources, LLC and Brian

Jedwab (collectively the “Amlaur Defendants”), (5) James Dowd (“Dowd”), (6) Simon Liang

(“Liang”), and (7) Brian McFadden (“McFadden”) (collectively, the Big Picture Defendants, the

Tribe, the Individual Tribal Defendants, the Columbia Defendants, the Amlaur Defendants, Dowd,

Liang and McFadden shall be referred to as the “Settling Defendants”; collectively, the Named

Plaintiffs and the Settling Defendants shall be referred to as the “Parties”), through their respective
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counsel, have agreed, subject to Court approval following notice to the Settlement Class Members

and a hearing, to settle the above-captioned lawsuit (the “Lawsuit”) upon the terms and conditions

set forth in the Class Action Settlement and Release (the “Settlement Agreement”).

       The Settlement Agreement that has been filed with the Court (ECF No. ___) and the

definitions set forth in the Settlement Agreement are incorporated herein by reference.

       Based upon the Settlement Agreement and all the files, records, and proceedings herein, it

appears to the Court that, upon preliminary examination, the proposed Settlement is fair,

reasonable, and adequate. Accordingly, the Court grants preliminary approval of the Settlement.

A Final Approval Hearing will be held on _______, ____, 20__ at __:__ A.M./P.M., after notice

to the proposed Settlement Class Members, in order to determine whether a Final Approval Order

should be entered in the Lawsuit.

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.      Consolidated Amended Complaint: Plaintiffs’ Motion for Leave to File the

Consolidated Amended Complaint is granted, subject to the conditions within the Settlement

Agreement.

       2.      Settlement Class: Pursuant to Fed. R. Civ. P. 23(b)(2), the matter is hereby

preliminarily certified, for Settlement purposes only, as a class action on behalf of the following

class of individuals (the “Settlement Class Members” or “Settlement Class”):

       All consumers residing within the United States or its territories who executed loan
       agreements with Red Rock Tribal Lending, LLC or Big Picture Loans, LLC
       (including loans assigned to Big Picture Loans, LLC) from June 22, 2013 to the
       date of the Preliminary Approval Order; provided, however, that “Settlement
       Class” and “Settlement Class Member” shall exclude: (i) all consumers who would
       otherwise qualify for membership in the “Settlement Class” for which the consumer
       previously has released all claims as to the Settling Defendants; (ii) the Settling
       Defendants’ officers, directors, and employees; (iii) the Settling Defendants’
       attorneys; (iv) the Named Plaintiffs’ attorneys; and (v) any judge who has presided
       over either mediation or disposition of this case and the members of his or her
       immediate family.

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       3.      Class Representative Appointment: Pursuant to Fed. R. Civ. P. 23, the Court

preliminary certifies Lula Williams; Gloria Turnage; George Hengle; Dowin Coffy; Marcella

Singh, as administrator of the Estate of Felix Gillison, Jr.; Renee Galloway; Dianne Turner; Earl

Browne; Rose Marie Buchert; Regina Nolte; Kevin Minor; Teresa Titus; Lisa Martinez; Anthony

Green; Sonji Grandy; Anastasia Sherman; Burry Pough; Linda Madison; Dominque de la Bay;

Lucinda Gray; Andrea Scarborough; Jerry Avent; Lori Fitzgerald; Derek Geter; Keisha Hamm;

Faith Thomas; Sharon Paavo; Latanya Tarleton; Christina Cumming; Lamesha Kondo; Andrea

Mendez; Tammy Wangeline; Freeman Revels; Kimberly Pool; Tasha Pettiford; Richard L. Smith,

Jr.; Victoria Renee McKoy; Desiree Wright Lovins; Sandra Monsalve; Carrie Samantha Smith;

Chris Kobin; Dana Duggan; and John Actis (collectively, “Named Plaintiffs”) as the Class

Representative(s) for the Settlement Class. The Court finds and determines that the Named

Plaintiffs will fairly and adequately represent the interests of the Settlement Class in enforcing the

rights of the Settlement Class in the Litigation.

       4.      Class Counsel Appointment: The following attorneys are preliminarily appointed

as Class Counsel under Fed. R. Civ. P 23(g)(1):

            a. Leonard A. Bennett, Elizabeth W. Hanes, and Craig C. Marchiando of Consumer

               Litigation Associates, P.C.;

            b. Kristi C. Kelly, Andrew J. Guzzo, and Casey S. Nash of Kelly Guzzo PLC;

            c. Beth E. Terrell, Elizabeth A. Adams, and Jennifer R. Murray of Terrell Marshall

               Law Group PLLC;

            d. E. Michelle Drake and John G. Albanese of Berger & Montague PC;

            e. Matthew W. Wessler of Gupta Wessler PLLC;

            f. Anna C. Haac and Hassan Zavareei of Tycko & Zavareei LLP; and


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            g. Michael A. Caddell, Cynthia B. Chapman, John B. Scofield, Jr., and Amy E. Tabor

               of Caddell & Chapman.

For purposes of these Settlement approval proceedings, the Court finds that these law firms are

competent and capable of exercising their responsibilities as Class Counsel and have fairly and

adequately represented the interests of the Settlement Class for Settlement purposes.

       5.      Preliminary Certification of the Class: For Settlement purposes only, the Court

preliminarily finds that this matter and the Settlement Class satisfy the applicable prerequisites for

class action treatment under Fed. R. Civ. P. 23(b)(2). The Court preliminarily finds that, for

Settlement purposes and conditioned upon the entry of this Order and the Final Approval Order,

and the occurrence of the Effective Date, that the prerequisites for a class action under Rules 23(a)

and (b)(2) of the Federal Rules of Civil Procedure have been satisfied. The Court finds, in the

specific context of this Settlement, that the following requirements are met: (a) the number of

Settlement Class Members is so numerous that joinder is impracticable; (b) there are questions of

law and fact common to the Settlement Class Members; (c) the Named Plaintiffs’ claims are typical

of the claims of the Settlement Class Members; (d) the Named Plaintiffs have fairly and adequately

represented the interests of the Settlement Class and will continue to do so, and the Named

Plaintiffs have retained experienced counsel to represent them; (e) the questions of law and fact

common to the Settlement Class Members predominate over any questions affecting any

individual Settlement Class Member; and, (f) a class action provides a fair and efficient method

for settling the controversy under the criteria set forth in Rule 23 and is superior to alternative

means of resolving the claims and disputes at issue in this Lawsuit. The Court also concludes that,

because this case is being settled rather than litigated, the Court need not consider manageability

issues that might be presented by the trial of a class action involving the issues in this case.



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        6.     The Court finds that the Settlement falls within the range of reasonableness because

it provides for meaningful remediation relative to the merits of the Named Plaintiffs’ claims and

the Settling Defendants’ defenses in that Settlement Class Members will obtain substantial

injunctive relief. The Settlement also has key indicia of fairness in that significant discovery and

litigation have been undertaken by the Parties in the Lawsuit and other related cases and settlement

negotiations occurred at arm’s length.

        7.     Class Action Administration: [_________] is approved as the Settlement

Administrator. The Settlement Administrator shall oversee the administration of the Settlement

and the notification to Settlement Class Members as directed in the Settlement Agreement. The

Notice Plan and class administration expenses shall be paid in accordance with the Settlement

Agreement.

        8.     Class Notice: The Court approves the form and content of the Class Notice

submitted to the Court on November 26, 2019 (ECF No. ____). The proposed form and method

for notifying the Settlement Class Members of the Settlement and its terms and conditions meet

the requirements of Fed. R. Civ. P. 23(c)(2)(B) and due process. The proposed Class Notice

constitutes the best notice that is practicable under the circumstances and constitutes due and

sufficient notice to all persons and entities entitled to notice. The Court finds that the proposed

notice concisely and clearly states, in plain, easily understood language, the nature of the Lawsuit;

the definition of the class certified; the class claim, issues, and defenses; that a Settlement Class

Member may enter an appearance through counsel if the member so desires; and the binding effect

of a class judgment on Settlement Class Members. The Notice Plan is designed for notice to reach

a significant number of Settlement Class Members and is otherwise proper under Fed. R. Civ. P.

23(e)(l).



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       Based on the foregoing, the Court hereby approves the Notice Plan developed by the Parties

and directs that the Notice Plan be implemented according to the Settlement Agreement.

       9.      Objections: Any individual within the Settlement Class may appear at the Final

Approval Hearing to argue that the proposed Settlement should not be approved and/or to oppose

the application of Class Counsel for an award of Attorneys’ Fees and costs and the Service Awards

to the Named Plaintiffs; provided, however, that no individual within the Settlement Class shall

be heard, and no objection may be considered, unless the individual files the objection with the

Court no later than thirty (30) days before the Final Approval Hearing and mails the objection to

Class Counsel, Settling Defendants’ Counsel, and the Settlement Administrator postmarked no

later than thirty (30) days before the Final Approval Hearing; provided, however, objections to the

Class Counsel’s Attorneys’ Fees or the requested Service Awards may be supplemented up to

seven (7) days after the filing of a motion for such fees or awards to address additional information

or materials in the motion. All objections must include: (1) the objector’s name, address,

telephone number, and the last four digits of the Settlement Class Member’s Social Security

Number; (2) a sentence stating that to the best of his or her knowledge he or she is a member of

the Settlement Class; (3) the factual basis and legal grounds for the objection to the Settlement;

and (4) the name, firm name, phone number, email address, and mailing address of counsel

representing the objector, if any.

       The written objection must indicate whether the Settlement Class Member and/or his or her

lawyer(s) intend to appear at the Final Approval Hearing. Any lawyer who intends to appear at the

Final Approval Hearing must also enter a written Notice of Appearance of Counsel with the Clerk

of the Court no later than thirty (30) days before the Final Approval Hearing and shall include the

full style and case number of each previous class action case in which that counsel has represented

an objector. Settlement Class Members who do not timely make their objections in this manner

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will be deemed to have waived all objections and shall not be heard or have the right to appeal

approval of the Settlement.

       10.      Final Approval: The Court shall conduct a Final Fairness Hearing on __________,

2020 at the Spottswood W. Robinson III and Robert R. Merhige, Jr. Federal Courthouse, 701 East

Broad Street, Richmond, VA 23219, commencing at ___:___ A.M./P.M., to review and rule upon

the following issues:

             a. Whether the proposed Settlement is fundamentally fair, reasonable, adequate, and

                in the best interests of the Settlement Class Members and should be approved by

                the Court, including in light of any valid objections filed by Settlement Class

                Members;

             b. Whether the Final Approval Order should be entered, dismissing the Lawsuit with

                prejudice against the Settling Defendants, releasing the Released Claims against the

                Released Parties, and releasing the Non-Payment Released Claims against

                Settlement Class Members who do not receive a payment from the Settlement Fund,

                as defined in the Settlement Agreement and Class Notice;

             c. Whether Class Counsel’s requested Attorneys’ Fees and costs and the Service

                Awards to the Class Representatives should be approved; and

             d. To discuss and review other issues as the Court deems relevant to the Settlement.

       11.      Settlement Class Members need not appear at the Final Approval Hearing or take

any other action to indicate their approval of the proposed class action Settlement. Settlement

Class Members wishing to be heard regarding their objection are, however, required to indicate in

their written objection whether or not they intend to appear at the Final Approval Hearing. The

Final Approval Hearing may be postponed, adjourned, transferred, or continued without further

notice to the Settlement Class Members.

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       12.     An application for Attorneys’ Fees and reimbursement of costs and expenses by

Class Counsel shall be made in accordance with Section 10.7 of the Settlement Agreement and

shall be filed with the Court no later than fourteen (14) days before the Final Fairness Hearing.

Further submissions by the Parties, including memoranda in support of the proposed Settlement

and responses to any objections, shall be filed with the Court no later than fourteen (14) days prior

to the Final Approval Hearing. The Court will permit the supplementation of any filings by

objectors as to Attorneys’ Fees and costs at any date up to seven (7) days after the filing of a motion

for such fees to address additional information or materials in the motion. The Parties may respond

to this supplementation before the Final Fairness Hearing.

       13.     All proceedings against the Settling Defendants are stayed pending Final Approval

of the Settlement, except as may be necessary to implement the Settlement or comply with the

terms of the Settlement Agreement.

       14.     Any deadlines set in this Preliminary Approval Order may be extended by order of

the Court, for good cause shown, without further notice to the Settlement Class, except that notice

of any such extensions shall be posted to the Settlement Website. Members of the Settlement

Class should check the Settlement Website regularly for updates, changes, and/or further details

regarding extensions of these deadlines.

       15.     The Parties are directed to carry out their obligations under the Settlement

Agreement and are hereby authorized to use all reasonable procedures in connection with approval

and administration of the Settlement that are not materially inconsistent with this Order or the

Settlement Agreement, including making, without further approval of the Court, minor changes to

the Settlement Agreement or to the form or content of the Class Notice that the Parties jointly

agree are reasonable or necessary, and which do not limit the rights of Settlement Class Members

under the Settlement Agreement.

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        16.      Pending final determination of whether the Settlement should be approved, the

 Named Plaintiffs, all Settlement Class Members, and any person or entity allegedly acting on

 behalf of Settlement Class Members, either directly, representatively or in any other capacity, are

 preliminarily enjoined from commencing or prosecuting against: (1) the Released Parties any

 action or proceeding in any court or tribunal asserting any of the Released Claims and/or Non-

 Payment Released Claims. This injunction is necessary to protect and effectuate the Settlement,

 this Order, and this Court’s flexibility and authority to effectuate the Settlement and to enter

 Judgment when appropriate, and is ordered in aid of this Court’s jurisdiction and to protect its

 judgments pursuant to 28 U.S.C. § 1651(a).

        17.      If the Settlement Agreement and/or this Order are voided per Section XIII of the

 Settlement Agreement:

              a. The Settlement Agreement shall have no further force and effect and shall not be

                 offered in evidence or used in the Litigation or in any other proceeding;

              b. Counsel for the Parties shall seek to have any Court orders, filings, or other entries

                 in the Court’s file that result from the Settlement Agreement set aside, withdrawn,

                 and stricken from the record;

              c. The Settlement Agreement and all negotiations, proceedings, and documents

                 prepared, and statements made in connection with either of them, shall be without

                 prejudice to any Party and shall not be deemed or construed to be an admission or

                 confession by any Party of any fact, matter, or proposition of law; and

              d. The Parties shall stand in the same procedural position as if the Settlement

                 Agreement had not been negotiated, made, or filed with the Court, and no doctrine

                 of waiver, estoppel, or preclusion will be asserted in any litigated certification

                 proceedings in the Actions against any Party, including without limitation, the

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               amended complaint filed the Lawsuit and any consolidation of the Actions pursuant

               to Section 5.1 of the Settlement Agreement shall be null and void as it was filed

               only to effectuate this Settlement.

        18.    The Court retains continuing and exclusive jurisdiction over the Lawsuit only to

 consider all further matters arising out of or connected with the Settlement, including the

 administration and enforcement of the Settlement Agreement.

           IT IS SO ORDERED.

  Dated:

                                                       Senior United States District Judge




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TRIBAL ECONOMIC DEVELOPMENT HOLDINGS, LLC
E23970 Pow Wow Trail
P.O. Box 692
Watersmeet, Michigan 49969



                                          May 6, 2019

Eventide Credit Acquisitions, LLC
Attn: Matt Martorello
875 Carretera 693
Suite 202
Dorado, PR 00646

       Re: $5,000,000 Advance Note Payment

Mr. Martorello:



       Tribal Economic Development Holdings, LLC (“TED”) and its wholly owned subsidiary
companies Big Picture Loans, LLC (“BPL”) and Ascension Technologies, LLC (collectively,
“Borrower”) and Eventide Credit Acquisitions, LLC (“ECA”) are parties to the following:
Agreement and Plan of Merger, Parental Guarantee and Sovereign Immunity Waiver, Loan and
Security Agreement dated October 7, 2015and that certain Secured Promissory Note (“Note”), as
amended, dated January 26, 2016. The Co-Managers of TED have authorized a advanced Note
payments to ECA in the amount of FIVE MILLION DOLLARS ($5,000,000.00) (“Advanced
Payment”). The Advanced Payment will be made as follows: ONE MILLION FIVE HUNDRED
DOLLARS ($1,500,000.00) immediately and ONE MILLION DOLLARS ($1,000,000.00) on or
before May 31, 2019. If, by July 31, 2019 ECA has not received Note payments pursuant to
Section 1.2 of the Note in an amount equal to or greater than TWO MILLION AND FIVE
HUNDRED DOLLARS ($2,500,000.00), TED will make an additional Advanced Payment of
TWO MILLION AND FIVE HUNDRED DOLLARS ($2,500,000.00) at that time.

        The parties agree that TED will continue to make Note payments pursuant to Section 1.2
of the Note, if any, until July 31, 2019. After July 31, 2019, any Advanced Payment will be setoff
by future Note payments pursuant to Section 1.2 of the Note. For the avoidance of doubt, after
July 31, 2019 no further payments will be considered due under Section 1.2 of the Note until a,l
Advanced Payments have been fully setoff.
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       If the foregoing properly reflects your understanding of our agreement, please execute a
copy of this letter and return the same to TED’s Co-Managers via email to: Michelle Hazen at
shellyh@bigpictureloans.com and James Williams, Jr. at jim.williams@lvdtribal.com.

Sincerely,

_____________________
Michelle Hazen, Co-Manager

_____________________
James Williams, Jr., Co-Manager
                                                                     6th
                                    Acknowledged and agreed to this ___ day of May, 2019:

                                    ___________________________
                                    Matt Martorello, President of Manager
                                    Eventide Credit Acquisitions, LLC
